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Deposition of:

| ee [ssa] Due Process Hearing , Vol.

II
March 8, 2019

In the Matter of:

a GE Vs. Elmore County Board

Of Education

Freedom Court Reporting
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BEFORE THE

ALABAMA STATE DEPARTMENT OF EDUCATION

CASE NUMBER: 19-05
Petitioner,
vs.
ELMORE COUNTY BOARD OF EDUCATION,

Respondent.

VOLUME II

TESTIMONY AND PROCEEDINGS, taken
before the Honorable Michael Cole, as
Hearing Officer, and reported by Virginia
Denese Barrett, Court Reporter and
Commissioner for the State of Alabama at
Large, at the Elmore County Board of
Education, 100 H.H. Robinson Drive,
Wetumpka, Alabama, on the 7th day of March,

2019, commencing at approximately 9:00 a.m.

x ke kk kK kK kK kK Kk KK OK

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APPEARANCES |

1
2
3 FOR THE PETITIONER:
4 Mr. Bo Johnson

1 EXAMINATION INDEX
2 TEMEYRA McELRATH
3 Direct Continued by Mr. Cassady ...... 6

_ 4 Cross-Examination by Ms. Tatum ....... 267 KIRBY JOHNSON

5 EXHIBIT INDEX 5 One Independence Plaza Drive, Suite 520
| 6 PETITIONER'S EXHIBITS: PAGE: Ditmingham, Alabama 35209

7 Exhibit 19 - Due Process Hearing Transcript 9 | 7 Mr. Henry Lomax "Max" Cassady, Jr.

8 Exhibit 20 = 8/27/18 IEP Minutes 12. THECASSADY LAW FIRM

9 Exhibit 21 - Order and Judgment with Cover 57 8 !4S. Section Street
Fairhope, Alabama 36532

,10 Letter 9
11 Exhibit 22 - Notice and Invitation for 64 =‘ 10 FOR THE RESPONDENT:
12 8/31/18 IEP Meeting ' IL Ms. Erika Perrone Tatum
| 13 Exhibit 23 - 8/31/18 IEP Meeting 72 tie ry Steet FRANCO, COLE & BLACK
| 14 Exhibit 24 - Office Referrals, Restraint 80 | Montgomery, Alabama 36104
| 15 Forms 13
/ 16 Exhibit 25 - 80 14
'17 Exhibit 26 - 8/31/18 IEP 118 Ne
'18 Exhibit 27 - 9/28/18 IEP 159 17
‘19 Exhibit 28 - 9/14/18 IEP 139 ‘18
20 Exhibit 29 - 9/14/18 IEP Minutes 161 119
21 Exhibit 30 - 9/28/18 IEP Minutes 72 |
22 Exhibit 31 - 12/13/2018 IEP 176 oy
23 Exhibit 32 - Alabama Administrative Code 201 23 |
Page 392 Page 394 |
1 EXHIBIT INDEX CONTINUED I HEARING OFFICER: Okay. We'll
2 PETITIONER'S EXHIBITS: PAGE: 2 go back on the record. And this is day
| 3 Exhibit 33 - 202 3 two of the due process hearing. We'll
4 Exhibit 34 - 210 4 continue with the witness. I think
5 Exhibit 35 - 1/31/19 IEP 231 _ 5 Mr. Cassady was still directing his
6 Exhibit 36 - 238 , 6 examination and had asked for some
7 Exhibit 37 - 2/5/19 IEP 244 _ 7 documents. And I think the witness was
8 Exhibit 38 - 2/5/19 IEP Minutes 244 | 8 going to locate those this morning if
| 9 Exhibit 39 - 2/7/19 Notice of Proposal 249 | 9 they existed. So I'll ask you to let
10 —_and Refusal to Take Action . 10 Mr. Cassady know what you found.
11 Exhibit 40 - Student Code of Conduct 249 #11 MS. McELRATH: Okay. I found
12 Exhibit 41 - Student Code of Conduct 260 12 the meeting minutes for August 27th,
13 13 2018.
14 14 MR. CASSADY: Just for the
115 15 record, these were not previously
| 16 , 16 produced, were they? |
17 i 17 MS. TATUM: Mr. Cassady is
18 /18 correct. They were not. Well, they
19 /19 weren't produced to him. A copy was sent |
20 20 to the mother following the IEP meeting !
21 21 where she was provided a copy of the
22 22 meeting, but they were not sent to
23 23 Mr. Cassady as part of the Bates
2 (Pages 391 - 394)
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_ | documents.
2
3 have a seat, ma'am. We'll continue
. 4 questioning by Mr. Cassady.
_) MR. CASSADY: Judge, I want to
6 state for the record that the mother, the
7 parent as I've mentioned many times, she
8 manages a hotel and she has a conference
' 9 with corporate offices this morning at
10 nine a.m.
1] HEARING OFFICER: No problem
12 whatsoever.
13 TEMEYRA McELRATH
14 The Witness, having been previously
15 duly sworn or affirmed to speak the truth,
16 the whole truth, and nothing but the truth,
(17 testified as follows:
(18
19 BY MR. CASSADY:
‘20 Q. Ms. McElrath, you were here all
21 day yesterday as the representative of the
22 district, weren't you?
23° ~« AL Yes.
| Page 396
: Q. And you observed Ms. aM in
this room all day yesterday, didn't you?
A. I didn't.
: Q. Well, in other words, she was
| 5 sitting here?
| A. She was here.
Q. All day. And during the entire
| 8 day she sat there, she did not say
9 anything, did she?

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0 A. Idon't know.
(11 Q. That you heard?
(12. A. I wasn't watching.
‘13. Q. Okay. Did you hear her say

14 anything?
15 A. I didn't hear her say anything.
16 Q. And at any time did she make a
'17 gesture at you or some facial expression or
_18 anything that would be considered by you to

19 be inappropriate?
|20 A. I wasn't looking at her.
21 Q. And I'm just asking if you saw

22 anything like that.
23 <A. I didn't look at her. So I don't

HEARING OFFICER: Okay. You can

DIRECT EXAMINATION CONTINUED18

Page 397 |

- ] know what she was doing. !
2 Q. Allright. Now, these meeting
3 minutes, where did you find these?
4 A. Inthe student folder.
5 Q. Okay. And where is the original
6 student folder now?
7 A. Inmy office.
8 Q. Okay. AndI would like an
9 opportunity to see that original folder.
10 And could you get that during a break?
11 A. Ican. |
12  Q. And what does the student folder
13 contain?
14 A. The records that were sent to |
(15 you. :
16 Q. Okay. Now, did you also look for |
| : .
/17 the intellectual evaluation?
A. Idid.
19 Q. Is there one?
(20 A. Idid not find it.
21 Q. Allright. Now, where did you
22. look?
,23. A. I looked in the records.
| Page 398
1. Q.. And did you look in your E-mails
! 2 or otherwise to see if you ever received an
/ 3 E-mail from anyone at the district about
_ 4 getting that intellectual evaluation done?
: 5 A. I didn't have any. I didn't look
| 6 at my E-mails.
| 7  Q. Okay.
: 8 <A. I went to the school this
| 9 morning.
‘10 Q. Ma'am?
‘11 <A. I didn't go and get any E-mails,
12 look at any E-mails.
‘13 Q. Now, I want to mark these as

14 Exhibit --

15 MR. CASSADY: First, Judge, before
16 we -- we'd like to go ahead. We'd admit as
|17 an exhibit the first due process trial

18 transcript --

119 HEARING OFFICER: Okay.

20 MR. CASSADY: -- as 19. We want
-21 it in the record.

22 HEARING OFFICER: All right.

23 Petitioner's Number 19. Any objection,
3 (Pages 395 - 398)

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Ms. Tatum?

MS. TATUM: Yeah. I have an
objection. I don't understand the
4 relevance of the first due process hearing.
5 We're here to litigate this due process
6 hearing. And when we resolved the case at
' 7 mediation, we also stated that any claims
_ 8 and issues, that those were all resolved.

9 So in my opinion, we are -- my objection is
10 we seem to be relitigating. We resolved
11 the case. We resolved the case in good
:12 faith. We had a mediation with Hearing
‘13 Officer Romine. And the transcript is
'14 irrelevant to the current due process

15 hearing. And it's also prejudicial. The
-16 school system didn't even put on a case.
-17 We agreed to resolve the issues through
| 18 mediation.

19 MR. CASSADY: They sure did,
20 Judge. And the reason that it's relevant

(21 is because it contains very descriptive

22 incidences of conduct which they're now
23 claiming are the reasons -- those same

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| 2
3

| types of incidences of conduct they're now
! 2 claiming are the reason that after the
_ 3 settlement, after they had heard all of
' 4 that, discussing the same types of
_ 5 incidences of conduct they settled and said
_ 6 we agree for the judge to enter this as an
' 7 order that he will be at school for a full
8 school day. And so it's relevant for the
9 same reason that I was examining her
10 yesterday on prior incidences of what they
11 say was unacceptable, violent conduct
12 towards people or property.
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Page 400 |

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HEARING OFFICER: Let me take that) 13

Page 401 .
through a hearing and then you say, okay,
we're going to go ahead and mediate the
case, then we might as well put on our
entire case instead of going through
mediation.

HEARING OFFICER: I'll take it
under advisement.
MR. CASSADY:
another -- well --
Q. I've marked the minutes as
Plaintiff's Exhibit 20. Ms. McElrath, you
do understand the April 5, 2018 judgment of —
Judge Cole ordered the school district to
perform an intellectual evaluation?
A. Idid.
Q. And you now agree that it was not
done?
A. I said I could not find it. It
was documented in the minutes that it
occurred, but I do not have the

And that raises

documentation to support that.

Q. Have you conducted a reasonable
search of the records of the district to
Page 402
determine if it ever was done?
A. I did the best I could with the

time that was given to me.

Q. Well, this due process complaint
was filed a good while ago. Since thisdue
process complaint was filed -- and you did
know it had to do with breaching the
judge's order or not following the judge's

order, right?

A. You asked me for those documents
yesterday, and I went looking for what you |
were asking for support.

Q. Now, is there any reason that any

14 under advisement. I understand Ms. Tatum's ; 14 members of the IEP team would not be

15 position on that. You know, it was one day
‘16 of a hearing. And I understand your
! 17 position as far as trying to show some of
.18 the behaviors. But it goes into a lot more
19 than that, and so I'll take it under

20 advisement.

21 MS.TATUM: And one more. It

22 defeats the purpose of trying to resolve

23 the case, Mr. Hearing Officer. If you go

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permitted to see the judge's order that you
know of?

A. The IEP members to see the
judge's order?

Q. Right.

A. No.

Q. Okay. And so as members of the
IEP team, then they also could have it in
his file, in his special education file

4 (Pages 399 - 402)

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' | because nobody gets to see that except

| 2 people with permission to see his special
3 education materials, right?

' 4 A. Normally what happens when we
| 5 have that, an order --

orno, Your Honor. You said it at the
beginning of this hearing.

Q. Yesorno? Are only --

A. Can I explain?
‘11. Q. No, ma'am. You can when I'm
12 done.
13. A. Okay.
14 Q. Yesorno. Are only people that

15 are permitted to see his special education

16 file permitted to see his special education
‘17 file?

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-18 A. They are able to see his special
‘19 education file.
‘20 Q. Yesorno?
‘21 A. They can see his file. Yes.
(22 Q. Yesorno? Can anyone -- can
23 only --
1 A. Yes.
2 Q. Thank you.
3 +A. But--
4 Q. Go ahead.
'5 A. Iwantto complete. They can see

: 6 his educational file. But when there's a
7 settlement agreement, I take the agreement
| 8 to the meeting and I review it with the
| 9 team. I take that agreement back and put
10 it in confidentiality for safe keeping.
11 Q. So you're saying --

12 A. It doesn't stay at the school
| 13 level. It doesn't stay at the school
| 14 level.
‘15  Q. Soifa special education teacher
16 looked at his special education file, they
| 17 would not see the judge's order?
,18 A. They would see what has been
19 decided on as far as what we must do in
/20 order to comply with that settlement.
21. Q. Show me the page that that is in
22 in the special education file.
| 23

MR. CASSADY: I'm asking for a yes

Page 404

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Page 405
Officer. It's been asked and answered. We
went through that yesterday from the May
8th IEP meeting.

MR. CASSADY: This is your
judgment. This is the judgment of this
administrative body. And she has said --
she's trying to do a back door explanation
that no, we keep the judge's order in this
case that declare what his special
education rights are, we keep the judge's
judgment in a confidential file, not in the
special education file. But if they read
the special education file, they'll know

what the judgment says.

HEARING OFFICER: Overrule the
objection.

MS. TATUM: Objection to his
characterization.

HEARING OFFICER: Overrule the
objection.

MS. TATUM: Ms. McElrath's
testimony was not as Mr. Cassady
characterized it.

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HEARING OFFICER: The record will
reflect what the testimony was. I'll
overtule the objection. You can answer it.
Is there any document in the record that
would show that there is an order at
another location?

A. It would show -- no. It would
only show that there was a discussion of
the settlement agreement as referenced as a
settlement agreement. And those things are
put in place in the different parts of the
IEP.

Q. Where is that document, ma'am?

MS. TATUM: Mr. Hearing Officer, I
would ask for an instruction that
Mr. Cassady treat the witness with respect.
He's being very aggressive toward her.
We've just started the day. There hasn't
been any difficult testimony.

HEARING OFFICER: You are a little
bit aggressive today.

MR. CASSADY: And may the record

MS. TATUM: Objection, Mr. Hearing ; 23 reflect when I asked that question that I'm

5 (Pages 403 - 406)

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sitting here in my chair with my laptop.

| Page 407
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Q. And my question was where is the
document, ma'am?

both ways.
Q. Ma'am, where is the document?
HEARING OFFICER: The witness
needs to be polite to the attorneys and the
| 10 attorneys need to realize that this is an
11 informal administrative hearing and

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5 be very calm today. So, you know, it goes
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'12 everybody has a role. We just need to keep

| 13 it as low key as we can.

(14 A. On page six seventy-nine are the
1/15 minutes. And under the discussion part it
| 16 says discussed settlement. And it points
17 out the key things that we discussed

118 regarding the settlement on page six

| 19 seventy-nine, six eighty, six

‘20 eighty-one.

121 Q. Please read verbatim -- please

22 read verbatim into the record, please, the

23 key things we discussed regarding the

settlement. Please read that into the
record verbatim and name the document,
please.

A. Init it says discussed
settlement. So that would have been the
entire settlement agreement that we've had.
What key points were also identified with
the discussion of the settlement would have
been the sign language interpreter, the
, 10 one-on-one parapro, quarterly IEP meeting,
‘11 interpreter and provide eval results for
.12 parent, summer camp at AIDB. AIDB will be

CNY NUMNA KR WN —

\o

13 in contact with Mom about which summer camp |

14 he will attend. If | is homebound,
15 services will be provided at school

16 location. Receive extended school year
17 unless it is determined that another

18 service would be better suited for him.

' 19 Assessments completed, speech, assistive
20 technology, IQ, achievement, behavior plan.
21 IEP draft was discussed. Parent concerns
22 none. Behavior plan completed.

23 Transportation, if JJ cannot ride bus

HEARING OFFICER: We're going to _

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Page 408

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Page 409

due to behavior. Speech achievement
results discussed. Last year was the last
time he went to the eye doctor. Will take
him again and send school results. No
concerns about participation in the AAA
based on IQ scores. AT eval covered.
Recommendation discussed. Mom has device
that plugs into his implant that serves as
earphones. Will send to school. Text to
speech will be put on iPad and Chromebook. ©
Free apps, send Mom list. Signing Times —
interpreter will decide if appropriate.
Adaptive P.E. eval covered. [J does not |
meet qualifications for adaptive P.E.
Discussed modifications for hearing. Mom
had no questions, concerns about goals and:
services. The possibility of going to MMS
was discussed but no decision was made at :
this time because a Millbrook -- that's all |
it says there.

Q. What page? What page are you on
now, please, if you would tell us?

A. Oh, I'msorry. Okay. That was

Page 410 |

six eighty that I was on. I'm on six
eighty-one now. It says FBA/BIP was
discussed. Mom had no questions, concerns. |
Ms. Blassingame reported that pressure was _.
working. Mom said it was fine with her.
Mr. Mayer covered suggestions for handling |
anger and ABC recording log for
misbehavior. That's page six eighty-one. ;

Q. And would you please tell the .
Court what day those minutes were taken
that you're reading from?

A. May 8th.

Q. And would you please tell the
Court who wrote those minutes?

A. It doesn't indicate it here.

Q. And will you please tell the
Court if you recognize the handwriting?

A. Idonot.

Q. Will you please tell the Court
who was present that day?

A. It says the attendees Temeyra
McElrath, Troy Salter, Jack Mayer, Sharon |
Jones, Rashawn Blassingame, Sylvia Daniel. |

6 (Pages 407 - 410)

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|
| 1 Q. Will you please tell the Court _ I call my office and check on the break, but
| 2 who ordinarily took minutes at the IEP _ 2 usually the special education director does

3 meetings? 3 not have the original.

4 A. Say it again. 4 A. When he said that, I assume it

5  Q. Would you please tell the judge _ 5 was acopy that I received. So he said
_ 6 who ordinarily took the minutes if you were | 6 could I go get acopy. The original is |
7 present at the IEP meeting? 7 what is sent to me that I discussed at the
8 A. It varied. | 8 IEP. SoI can go get it, which I can print
| 9 Q. So will you please tell the Court : 9 you acopy.

10 if you have any idea at all who wrote these _—-:10 HEARING OFFICER: What's your

| 11 minutes? ‘11 point, Mr. Cassady?
(12 A. Ido not. (12 MR. CASSADY: Well, I want to see

13. Q. And when you say that on page six 13 the document that she -- the testimony has
| 14 eighty-one, quote, Ms. Blassingame reported 14 been, Your Honor, that the settlement
_15 that pressure was working, period, Mom said 15 agreement, that there's one copy, that they

16 it was fine with her, would you please tell 16 keep it locked away here somewhere on these:

17 the Court what that means? 17 premises. And I want to see it because --
18 A. I don't know. 18 HEARING OFFICER: She'll bring it
‘19 Q. Where it says on the same page, 19 to you. Let's move along. We're really

20 quote, FBA forward slash BIP was discussed, 20 slow on this. We spent about six hours on
21 period. Mom had no question forward slash 21 this witness yesterday.
22 concerns, end quote. Would you please tell 22 MR. CASSADY: Yes, sir.

23 the judge what was discussed? 23 Q. Now, the August 20, 2018 IEP
Page 412 Page 414
1 A. I wouldn't be able to tell you at 1 meeting, is there anything in the minutes
2 length what was discussed. The functional . 2 about reviewing Judge Cole's settlement --
3 behavior plan, behavior assessment andthe . 3 I mean Judge Cole's order and judgment at
4 behavior intervention plan was discussed. 4 that IEP meeting?
5 That's all I can give you. I wouldn't have 5 A. Ido not see it on that. The
6 the details. _ 6 principal was present on May 14th via
7  Q. Now, was there -- so the | 7 phone. She participated to talk about the
8 confidential settlement -- well, the order _ 8 transition for him.
_ 9 and judgment of the Court, is it here on 9 Q. Please, ma'am, will you state yes
| 10 this premises, the original that you say is 10 or no whether --
11 locked away? ‘11 A. It is not on the August 20th
(12. A. The original? '12 documentation that I have that it was
13° Q. Yes, ma'am. 13 discussed, but the settlement agreement
14° =A. I'msure itis. 14 does not have to be discussed. In an IEP
-15 Q. Okay. Would you please be able .15 meeting if there is something I need to
16 to go get that during a break so that we _16 make the case manager aware of, I can
17 could look at the original? 17 discuss that with the case manager just to
18 A. Okay. | 18 make sure. Because what was happening at.
19 MS.TATUM: I'm going to speak to _, 19 this time, he was at ICARE at an |
20 that. I don't think Ms. McElrath has the 20 alternative placement and we were
|21 original. I think the original is at my | 21 transitioning him to the middle school. So |

22 office or the original could have been sent 22 you have two schools. So where it was |
23 to Hearing Officer Romine. I mean, I could 23 originally discussed was at the alternative

7 (Pages 411 - 414)

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| 1 school and then he went to the middle 1
| 2 school. | 2
3 > Q. Who was the -- so the settlement | 3

4 of the order and judgment of Judge Cole-- | 4
'5 A. I'm nottrying to be rude, sir. | 3
, 6 Ineed to stand for a second. I'm having | 6
_ 7 back spasms. | 7
— «8 HEARING OFFICER: Sure. 8

9 QQ. The order and judgment of Judge —9@9

—
o

10 Cole, you're saying it was at the May 2018
11 IEP meeting which was held at the

112 alternative school? (12
13. A. The May -- the May 8th meeting. 13
‘14 Q. The minutes you were just reading = 14

—
—

'15 from, those are from -- were from May of | 15
| 16 2018, right? | 16
‘17. A. Yes. That would have been at 17
'18 ICARE. 18
‘19 Q. Right. (19
20 =A. Yes. 20
‘21 Q. And that's where Mr. Troy Salter | 21
22 used to -- (22
23, A. Yes. 23
Page 416 |
/ 1. Q. -have him full-time? iy
2 A. Uh-huh. | 2
3  Q. And, please, if it's okay, if you 3
| 4 would let me finish my question. I don't 4
! 5 want to be rude, and I'm trying very hard | 5
6 not to be. But if you would please let me | 6
| 7 finish my question so that the court /7
8 reporter can finish typing my question 8
9 before you answer. Would you please do 9
10 that? “10
‘Il A. [can do that. ‘i
12 Q. Thank you. Now, did you say that | 12

‘13 the next IEP meeting for August 20,2018  =§13

14 was at a different location? 114
15 A. Yes. ‘15
16 Q. And what location was that? 16
17 A. Millbrook Middle. 17
(18 Q. And did you say that the IEP team | 18
19 did not have to have the settlement 19
:20 agreement or the judge's order at that 20

21 meeting? 21
(22 A. We would have already discussed = 22
23 his transition because actually, was =| 23

Page 417

set to --

MR. CASSADY: Your Honor, if I may’

address the Court. |

HEARING OFFICER: Do a yes or no, |

and then you can explain.

Q. DoI need to ask the question

again? |

A. Yes, please.

Q. Okay. Was the judge's order and

judgment at the August 20, 2018 IEP
meeting?
A. No.
Q. Was the judge's order and
judgment at the May 27th, 2018 -- I'm
sorry. Strike that. Was the judge's order
and judgment at the August 27, 2018 IEP
meeting?
MS. TATUM: While she's looking,
my reading glasses are in the car.
HEARING OFFICER: Sure. We won t
start back until you get in.
(Brief pause)
HEARING OFFICER: Okay.
Page 418 |
A. No, they were not. But it's |
indicative in the minutes that the part of
the settlement of what we were to do was
discussed because when looking at homebound
as an option, it talked about transition
and that his homebound services being at
Millbrook Middle School.
Q. And you're reading from what
minutes?
A. The minutes that I gave you
today.
Q. Which have been marked as
Plaintiff's Exhibit 20?
A. Uh-huh. I have a copy here.
Q. Okay. If you would say yes for
the record, please.
A. Yes. Uh-huh.
Q. Thank you.
HEARING OFFICER: Any objections
to Petitioner's Exhibit Number 20 which are
the minutes that you brought in?
MS. TATUM: No objection.
HEARING OFFICER: No objection —

8 (Pages 415 - 418)

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' 1 being made, Petitioner's Exhibit Number 20
, 2 is admitted.

3 MR. CASSADY: Can I staple this,

4 Your Honor?

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A. Yes.
Q. Did she sign both days?
A. That's the other book, the August

20th IEP. Sir, I think it is in another

1
2
3
4
5 book.
6
7
8

_ HEARING OFFICER: Yes, please.
6 Q. Okay. HEARING OFFICER: Okay.
7 A. Can/I continue? Ms. Tatum --
8 HEARING OFFICER: Next question. THE WITNESS: The one with the
9  Q. Do you remember what the question 9 tabs.
110 was? 10 MS. TATUM: Oh, yeah. I was
(11 A. You can repeat it, if you'd like? 11 trying to remember.
12  Q. Do you remember what the question 12 HEARING OFFICER: I understand.
| 13 was? 13 There's several notebooks up there.
(14 A. Repeat it. 14 A. Yes. The answer to your question
‘15 Q. The question is, first, who is 15 is yes.
16 required to be at an IEP meeting by law? 16 Q. And what tab are you looking at?
‘17 A. The -- a general ed teacher, a AZ A. 5. |
18 special ed teacher, someone who can 18 Q. Now, if you would, turn to the
| 19 interpret the results, the parent and an 19 minutes of the August 27, 2018 IEP which is '
-20 LEA. 20 Plaintiff's 20. First may I ask, please,
21 Q. And who was the special education = 21 do you know who wrote these minutes?
22 teacher present at the May IEP meetingin 22 A. Idonot. |
23 2018? ‘23. Q. Would you read into the record,
Page 420 Page 422
' 1 A. Sylvia Daniel. 1 please -- no, first, the Plaintiff's
|; 2 Q. Was she the special education 2 Exhibit 20 represents the entire -- first,
~ 3 teacher for I BR 3 what are the purpose of minutes? Why are
4 A. She was at that time. 4 minutes written? You're the special
‘' §  Q. Has she been -- who is now his 5 education coordinator. Why are minutes
6 special education teacher? 6 written in an IEP meeting?
| 7 A. Tina Perry. 7 A. Wetry to document what was
| 8 Q. And when did Tina Perry become 8 discussed.
9 his special education teacher? 9 Q. Okay.
‘10 A. August of -- August 2018. ‘10 A. It's like a summary or a snapshot
11 Q. What date in August? ‘11 of what was discussed.
12 A. It would have been August 7th, 12 Q. Thank you.
-13 but he didn't arrive until the 13th. 13. A. Uh-huh.
14 Q. And what was her name again, 14 Q.. And would you mind reading to the
15 please? 15 judge verbatim into the record -- if I may
| 16 A. Tina Perry. '16 hand this to you. If you would read it
‘17. Q. And so the special education _17 verbatim into the record.
18 teacher who attended the May 2018 IEP 18 HEARING OFFICER: We're not going.
_19 meeting was not his special education '19 to do that, Mr. Cassady. It's a document. |
20 teacher when he started school? 20 It's evidence. We're not going to spend
21 <A. She was not. ‘21 the time having someone read a document.
_22 Q. And was Tina Perry present at | 22 MR.CASSADY: Yes, sir. Yes, sir.
23 both of the August 2018 IEP meetings? 23, Q. So it says phone conference --
9 (Pages 419 - 422)
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| Page 423 . Page 425
1 under discussion, phone conference August I says, quote, all caps, ICARE, I-C-A-R-E,
2 27,2018 ten ten a.m., correct? 2 end all caps, to, all caps, MMS, end ail
_3 A. Correct. _ 3 caps. And that means from the alternative

4 Q. Next it says, quote, Discussion _ 4 school, Troy Salter to Millbrook Middle
5 one, colon, refusal to go to P-E., forward | 5 School, correct?
_ 6 slash if he goes and doesn't want to, he 6 A. Yes.
| 7 will get out, end quote? | 7 Q. And then it says, quote, Behavior
| 8 <A. Act out. | 8 is the same, comma, if not worse, end

9 Q. Actout. Thank you. And do you - 9 quote. Did I read that correctly?

10 remember anything about that conversation? 10 A. Yes.

‘11 A. That we discussed if he was 11. Q. Do you remember anything else
,12 willing to go to PE. 12 that was discussed about that?
13. Q. These are the minutes that ‘13. A. It would have been his behavior.

| 14 resulted in him being removed from a full 14 The specifics I do not.
15 day of school and riding on the bustoand $15 Q. Okay. And then it says, quote,

| 16 from school, true? 16 Discussion on homebound options, comma, as
117. A. Homebound was discussed. 17 well as giving him the best options. Do |
18 Q. Okay. Well, wasn't the IEP -- 18 you remember anything else that you can
19 isn't there an August 27,2018 IEP that was 19 elaborate on that minute entry? |
20 issued on this day -- 20 A. Only that homebound was an
21) =A. Yes. 21 option, but it wasn't an only option, that
(22 Q.. -- that puts him on homebound? 22 we were trying to make sure we had -- we
(23. A. Yes. 23 efficiently explored all our options for
Page 424 Page 426 |
1 Q.. Forone hour a day? 1 him. :
2 =A. Yes. 2 Q. And what were the other options,
3 Q. The next entry, it says 3 if you remember?
: 4 discussion two, colon, working with 4 A. Idon't remember. |
| 5 therapists, period. Mom is trying to look 5 Q. And the next one says, quote, all
_ 6 at options? 6 capps, ICARE, end all caps, has not been
7 A. Uh-huh. 7 successful, end quote?
| 8 Q. Doyou remember anything thatwas 8 A. Uh-huh.
9 discussed in that regard? 9 Q. Allright. Do you remember
‘10 A. That mom was working with a 10 anything about the discussion for that
11 therapist for him. 11 minute entry?
12. Q. Do you remember anything else? 12. A. What we discussed beyond that it
‘13° A. No,Ido not. 13 was not successful? Like I said, it would
.14 Q. Next one says, quote, Is -- all 14 have been documentation of behaviors he
15 caps, MMS -- quote, is, all caps, MMS,end —=15._ exhibited prior to leaving ICARE.
16 all caps, his best environment, question 16 Q. And then the next entry says,
17 mark. He is putting property as well as 17 quote, Smaller class size has not seemed to
18 staff forward slash students in jeopardy, 18 help his behavior, end quote. Do you |
19 end quote. Do you remember any further 19 remember anything about the discussion on |
|20 discussion about that? 20 that minute entry? |
21. A. Only that his behavior had turned 21 <A. We talked about class size.
'22 very violent. 22 QQ. Do you remember anything about
23 Q. Allright. And the next one 23 that conversation?

10 (Pages 423 - 426)

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1 A. Details? The specifics? | 1 you looking at, please? .
2 Q. Anything. / 2 A. Seven0 six.
3. A. That we talked about class size. 3  Q. And is that -- would you describe
4 Q. Anything else? _ 4 to the judge what that document is?
5 A. Theclass size of the student -- 5 A. It's aconsent for applied
6 I mean of the classroom. : 6 behavior analysis services.
7 Q. Is there anything else? 7 Q. Allright. And what is the date
8 A. And his behavior. _ 8 of that?
9 Q. Is there anything else you /9 A. 8/20/18.
10 remember about that minute entry? ;10 Q. Okay. And that would have been
11. A. No,Ido not. 11 presented to Ms. RJ a week before that
12 Q. Then it says, quote, Behavior 12 August 20, 2018 IEP meeting?
13 specialist Friday coming back for another, (13 = A. Uh-huh.
14 end quote. What does that minute entry 14 Q. And she signed it?
15 mean? 15 A. Yes.
16 A. That behavior specialist was 16 Q. And so despite the April 5, 2018
17 coming back to Millbrook Middle School for 17 judgment from Judge Cole, Ms. J was
'18 another visit meaning that there was a 18 not asked to sign the consent for The
'19 visit prior to this meeting taking place 19 Learning Tree behavioral specialist to work
|20 and was going to be back on Friday. 20 with the child until the IEP meeting of
‘21 Q. Well, and that would be -- that 21 August 20, 2018, true?
‘22 would indicate that the -- because the 22 A. We gave -- we gave the paperwork
:23 notice -- the notice for this August 27IEP 23 to Ms. We never received it. When
Page 428 Page 430 :
1 meeting which is Plaintiffs Exhibit6 was ‘1: we received it, we put it in action. So to
_ 2 sent on -- it says date notice sent, August | 2 receive it is the date that I have here, |
_ 3 24th, 2018 which I'll represent to you as | 3 but we never had any paperwork prior to
- 4 the Friday before the August 27,2018IEP = 4 that.
5 meeting. / 5 Q. Show me, please, in the school |
6 <A. Uh-huh. 6 board records where you gave that consent.
7 Q. Okay. 7 form to Ms. I before August 20, 2018.
8 A. Yes. 8 A. I don't have record of it.
: 9 Q. And so does that indicate to you 9 Q. Did you do it yourself?
10 that the first time that the behavioral 10 A. remember her receiving the
11 specialist had been to see the child had _11 paperwork to give us permission for BCBA. |
12 been on the day, the last day that he 12 Once we are given permission, then we can
13 attended Millbrook Middle School? 13 get the BCBA.
14. A. I wouldn't know the exact date -14. Q. And you remember her receiving
15 that the behavior specialist came. , 15 the paperwork?
16 Q. Do you have any records here at ‘16 A. Iremember giving the paperwork.
17 this school board facility that would show, (17  Q. Where did you give it to her?
18 for instance, the contract or the |18 <A. Atthe May meeting.

19 arrangements with -- with The Learning Tree 19 Q. Allright. Do you remember

20 representative that was required by Judge 20 testifying yesterday that you hadn't asked
21 Cole's order? '21 her to sign that consent form at the May
22 A. Yes. 22 meeting?

23  Q. What do you -- what document are 23 A. This form here? I didn't ask her

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| 1 to sign this form. But she was given forms 1 one. Just let me know.
| 2 for consent. Now, those could have been-- 2 THE WITNESS: Thank you.

| 3 and even if it wasn't in the May meeting, 3 MS. TATUM: If you need to take

_ 4 she was given the forms prior to. 4 some medication as long as you can still

Q. Well -- 5 testify.

6

7

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5
| 6 <A. The -- let me clarify. The Q. Isn't there supposed to be a

7 August meeting would not have been the written record, please, ma'am, of when you
_ 8 first time we attempted to get consent from send a request for consent to a parent
| 9 the parent. That would not have been our = 9_under IDEA regulations?
| 10 first time. (10 A. At the settlement agreement when
;11 Q. Well, show us in the records. ‘11 we had the meeting, there were some forms
112 A. Idon't have the records to be 12 that would have been sent to you that you
| 13 able to show you. 13 would have been able to give to her that we
14 Q. Allright. Have you looked for 14 agreed on at that time.
| 15 them? 15 Q. And your testimony is those were
| 16 A. Idon't have any records, any 16 never received?
'17 other records. I don't have anything else. 17. A. Wenever received anything back
/18  Q. But you're saying that before the 18 from the parent until, like I said, August :
(19 August 20, 2018 IEP meeting you gave that 19 20th we got permission. And when we got
20 form to Ms. -- 20 permission, we put it into action.
‘21. A. Not this form but the consent for 21 Q. Okay. Now, so -- so is it --

22 BCBA. We have to doa notice of consent 22 from your records, please, ma'am, are you
23 for her to give us permission, because with 23 able to identify any day before Friday,
ora

Page 432 Page 434 |
| 1 the consent that they give us -- that we 1 August 24, 2018 that the behavioral
_ 2 give them, it shows that the parent is 2 specialist ever met with the child?
' 3 allowing an FBA to be completed by The 3. A. I'mnot able to identify that in
| 4 Learning Tree. Now, that may or may not 4 the record. Only that it indicates the

5 have been in a meeting. But up until May, 5 behavior specialist coming back. So that

' 6 until the end of May she was communicating 6 indicates that the behavioral specialist
_ 7 with us. So we could have very well given 7 has been there but they were coming back

8 her forms to complete and to be in | 8 Friday.
9 compliance. But I don't have the 9 Q. Do you receive itemized bills
10 documentation to show that. 10 from the behavioral specialist detailing
1] MS. TATUM: Mr. Hearing Officer, 11 what their services were?
12 because Mr. McElrath is having back spasms 12 A. No.
113 today, if she needs to get up, is it okay? 13. Q. Who--
(14 HEARING OFFICER: Absolutely. 14 A. [actually received an invoice
“15 MS. TATUM: I want her to be able 15 for their services, but it doesn't detail
: 16 to testify today. I don't want to send her 16 schedule and it doesn't identify the
i 17 home. 17 student names by name.
18 HEARING OFFICER: She's already 18 Q. Would it be a burden for you to

|
19 gotten up once to stand up. | understand. ‘19 check for any E-mails relating to Jj
| 20 MS. TATUM: Okay. I just want to 20 §EEMG from the behavioral specialist? |
| 21 make sure if she gets up -- 21 HEARING OFFICER: If you'll check. ,
22 HEARING OFFICER: You can walk 22 MS. TATUM: To be clear, the

23 around. You can take a break if you need 23 school district has a behavior specialist,

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1 Jack Mayer. Are you asking for that, or
2 for the board certified behavior analyst?
3 MR. CASSADY: I'm asking for the
4 board certified behavioral analyst.
5 QQ. Now, the next entry says in the
6 minutes of August 27, 2018, quote,
7 Homebound pros, colon, no danger,
8 parenthesis, less danger, close
9 parenthesis, to others at, all caps, MMS,
10 end all quotes. Did I read that right?
11 =A. Yes.
12. Q. Do you remember anything else
13 that was discussed about the pros of
14 homebound?
15 A. I don't remember the details of
16 our conversation.
17. Q. Do you remember anything
18 generally otherwise that was discussed
'19 about the pros of homebound?
| 20 <A. Idon't remember anything beyond
21 what you're saying.
22 Q. Do you remember anything -- now,
23 there are no discussions of the cons of

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1 homebound in these minutes, are there?

_ 2 A. That doesn't mean they weren't

3 discussed because we have someone that's
| 4 taking the minutes.

5 QQ. Do you remember anything about
6 the cons discussed about --

' 7 A. I don't remember the details of

' 8 the conversation.

; 9 Q. Do you remember anything

-10 generally about a discussion of cons --

11 A. Idonot.

12 Q.. -- of homebound?

13. A. Idonot.

14 Q. If you--

15 HEARING OFFICER: Let him finish

16 the question, if you don't mind.
17 THE WITNESS: I'm sorry. I
18 apologize.
19 Q. Do you remember anything from the
20 August 27, 2018 IEP meeting about --
21 specific or generally a discussion about
22 the cons of a homebound placement?
(23. <A. Ido not remember.

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Q. The next entry says, all caps,
option, end all caps, colon, homebound
transition time, period. Maybe an hour at,
all caps, MMS, period. As behavior gets
better forward slash improves, comma, we
can work towards a full day at, all caps,
MMS, period, end all caps. Do you remember
anything more than that minute entry about
that particular subject?

A. Ido not.

Q. Do you remember anything specific
or general at all about that subject?

A. Ido not.

Q. The next entry says, quote,
Contact Morgan --

A. Morgan.
Q. -- Marshall?
A. Right.

Q. What does it mean in the minutes
where it says, quote, Contact Morgan
Marshall, end quote?

A. To call Morgan Marshall who is
the BCBA for The Learning Tree.

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Q. Allright. And then the next --
do you remember anything specific about
that conversation?
A. Ido not.
Q. Do you remember anything general

about that conversation at the IEP meeting?

A. Ido not.

Q. Then it says, quote, Speech at,
all caps, MMS, end all caps. What does
that mean?

A. Speech was discussed for him at
Millbrook Middle School, speech services.

Q. Do you remember anything specific
more than what you just said that was
discussed?

A. I donot.

Q. Do you remember anything
generally that was discussed more than that
entry itself?

A. Idonot.

Q. And then the last entry in the

22 minutes is -- it has a star. And it says,
+23 quote, Wednesday, colon, capital W, Where

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to transport i period, end quote.
What does that mean?

A. That by Wednesday we'd know where
to transport him, transport jj That
we'd know where to transport

Q. Do you remember anything that the
mother said at this August 27, 2018 IEP
meeting?

A. Nothing that I haven't already
stated. I don't remember.

Q. Okay. Nothing more than what
you've already testified to?

A. No. Unh-unh.

Q. So did not come back to MMS
after that day, did he?

A. Idon't know. That was the 27th.

Q. That was the day that he was put
on homebound, correct?

A. I'll have to go back and look at
the IEP to make sure that I'm speaking
correctly. Yes.

Q. Allright. So as a result of the
August 27, 2018 IEP -- and we just read the

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minutes -- he went from a full day at
Millbrook Middle School being transported
to school and then home on the bus to one
hour per day where he was going to be
picked up at home, taken to school for an
hour and then he would be taken back on a
bus home. Is that what the May 27, 2000 --
I'm sorry -- August 27, 2018 TEP concluded?

A. We're trying to determine as far
as when he would leave. Yes.

Q. Okay. Is the answer yes?

A. Yes.

Q. Now, why, then, was there another
IEP meeting? Were there any more IEP
meetings -- well, I'm going to withdraw
that question. Okay. And I want to back
up and ask one more question about the
August --

A. August 27th was not his last day
at Millbrook Middle School.

Q. Okay. So as of August 27, 2018,
he was put on a homebound program, right?

A. He was homebound from the

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beginning, but the homebound service that
he was -- he was homebound. It says --
from August 27th, the homebound -- on
August 27th the team decided that homebound
services would be at Millbrook Middle
School for one hour with transition plan in
place to increase his time there. But
he -- there's -- he was there on the 30th.

Q. Okay. And could you explain to
Judge Cole why the full-time interpreter
that had been ordered by Judge Cole was not
present at the August 20, 2018 and August
27, 2018 IEP meetings?

MS.TATUM: Objection. It's been
asked and answered. We have already
covered this. She already testified
regarding that it was continuing to be
implemented even if it wasn't at the IEP
meetings.

HEARING OFFICER: Overruled. You
can answer the question.

A. Why the sign language interpreter
wasn't present at the IEP meeting?

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Q. Yes.

HEARING OFFICER: Yes, ma'am.

Q. The IEP meetings of August 20 and
August 27, 2018?

A. I wouldn't be able to tell you.
I don't know.

Q. Is there anyone else other than
that sign language interpreter that knew
how to communicate with

A. The teacher was communicating
with him and the aide as best as they knew
how. This was a new environment for him.

Q. And he has, by your own testing
after the judge entered his order, the
functioning level of the mind of a
two-year-old, right?

A. One of the tests indicated that.

Q. So -- so is there any way you
could tell the judge how much time
Ms. RBM had to prepare for the August
27,2018 meeting? She received according
to your testimony the notice on the Friday
before which was August 24. And your

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1 minutes state that the minutes started at _ 1 Q. Well, she never got the
| 2 ten ten a.m. Can you tell us how muchtime 2 evaluations, did she --
3 she had to prepare? 3 A. They were --
| 4 A. Idonot know. 4 Q.. -- that were required by Judge
_ 5  Q. Can you tell us how that notice _ 5 Cole's order?
6 would have been sent to her for the -- this | 6 A. They were mailed to her.:
7 notice which has been marked as Plaintiff's | 7 Q. Oh, where is your record of that?
8 Exhibit 6? It's dated 8/24/2018 whichisa | 8 A. Idon't have record of that.
9 Friday. It says date and notice was sent. | 9  Q. And when were they mailed to her?
10 And then the meeting date is the following (10 A. I don't remember. I don't know.
11 Monday, August 27, 2018 at ten a.m. at 11 I didn't mail the records. The school
12 Millbrook Middle School. And could you '12 would mail any records and any --
13 tell Judge Cole, please, how it was that | 13. Q. Who told you the evaluations .
14 this notice was sent to her? (14 ordered by Judge Cole to be provided to her !
15 A. Idon't know. ‘15 had been mailed to her?
16 Q. Now, may I please approach the |16 A. Who told me they were?
17 witness? 17 Q. Who told you that?
18 HEARING OFFICER: Yes. ‘18 A. Ms. Sylvia Daniel.
19 Q. What does it say here under | 19 Q. Sylvia Daniel told you that.
20 results of first attempt on Plaintiff's ‘20 Now, the other thing that Judge Cole's
21 Exhibit 6? '21 order says about each IEP meeting is that .
22 A. Parent did not return notice. ‘22 members of the AIDB would be invited to
23 Ms. requested to participate by '23 that meeting. Do you remember that? !
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1 phone conference. 1 A. Can we go back to that, please?
2 Q. Okay. And then it says second ' 2  Q. To the order?
3 attempt? ' 3 A. Uh-huh.
4 A. There's nothing on the second 4 = Q. Sure.
5 attempt because Ms. RM -- the result 5 MR. CASSADY: Your Honor, if it's
6 was Ms. J participated via phone _ 6 okay, I'll just go ahead and mark a copy of
7 conference. 7 your order. The next one is 22?
8 Q. Now, is there anything in the 8 HEARING OFFICER: 22. Any

9 records that you have that would show when 9 objection to Petitioner's Exhibit Number 21
10 it was decided what time on Friday whether 10 that was previously identified and

11 it was eight a.m. in the morning or three 11 discussed? Did we do 21?

12 o'clock in the afternoon, what time it was 12 MR. CASSADY: I'm not sure. I
13 decided that there would be an IEP meeting 13 think the minutes were last and they're
14 at ten a.m. on the following Monday? 14 Number 20. So this will be 21.

15 A. I wouldn't know. I wasn't at the 15 HEARING OFFICER: Okay. Any
16 school. So I wouldn't know what time any | 16 objection to Petitioner's Exhibit Number
17 decision was made. /17 21?

18 Q. And you agree that Ms. was | 18 MS. TATUM: Is 21 the mediation

19 not provided with the documents required by ! 19 settlement agreement.

20 Judge Cole's order prior to the IEP 20 MR. CASSADY: It is the order and
:21 meeting? You agree? ‘21 judgment of Judge Cole.

22 A. What documents are you referring = 22 MS. TATUM: That's what I'm trying
23 to? ‘23 to figure out, which pages that you're

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1 introducing. | 1 Q. Okay. Now, was this an emergency
2 MR. CASSADY: I'll show itto you. © 2 IEP meeting on August 27, 2018?
| 3 MS. TATUM: Does it start with ' 3 A. It was an IEP meeting that was
| 4 order and judgment? | 4 scheduled. That would have to come from
_ MR. CASSADY: Please have alook. . 5 the case manager. He was exhibiting
' 6 I'll represent to the Court that that is 6 aggressive and violent behaviors.
_ 7 your order and judgment. | 7 Q. What is the difference in an
8 MS. TATUM: And also a letter. I | 8 emergency IEP meeting and just an IEP
' 9 don't have any objection. 9 meeting?
10 HEARING OFFICER: No objection |10 A. An IEP meeting is an IEP.
.11 being made, Petitioner's Exhibit Number 21 11  Q. What's an emergency IEP meeting?

12 is admitted into evidence. 12. A. They're all IEP meetings.

13 MR.CASSADY: She means your April 13. Q. After August 27, 2018, when was

14 Sth letter, cover letter with the judgment. 14 the next IEP meeting? :

15 HEARING OFFICER: Right. 15 A. That would have been August 31st. |

(16 MS. TATUM: No objection. 16 Q. And so Monday is the 27th. So ;
17. Q. Now, let me hand you this copy. :17 Tuesday is the 28th. Wednesday is the

18 MR.CASSADY: May I approach, Your 18 29th. Thursday is the 30th, and then we're |

19 Honor? 19 having another IEP meeting on August 31.

20 HEARING OFFICER: Sure. '20 Why had this August 31 IEP meeting been

(21. Q. In paragraph three of Judge '21 called?

22 Cole's judgment, it says, quote, second 22 A. It says coming from page seven

23 sentence, quote, The, all caps, AIDB,end —_. 23 sixty-two the IEP team met to discuss
! Page 448 Page 450

1 all caps, outreach professionals shall be 1 recent behavior episodes and safety.

2 invited to attend the IEP meetings once 2 Q. Thank you. Where is the notice

3 every quarter of the school year in person 3 to Ms. for this meeting?

4 or by phone, comma, and their time and 4 MS. TATUM: Mr. Hearing Officer,

5 mileage shall be compensated by the, all 5 this was one of the notices that

6 caps, LEA, period, end quotation marks.
7 Have the AIDB professionals ever been

8 invited to any of these IEP meetings?
9 MS. TATUM: Objection. It's been HEARING OFFICER: Do you have

10 asked and answered. It was asked and | 10 those?

| 6 Ms. McElrath was asked to go to her office
_ 7 and print. The notices are up here.
8 They're not in the book.

9

11 answered. | 11 MS. TATUM: We're talking about

12 HEARING OFFICER: Sustained. 12 for the August 31st.
13° Q. Were they invited to this 13 THE WITNESS: Oh, I don't have it.
14 meeting? (14 HEARING OFFICER: So we'll give
15 A. To this meeting today? 15 that to Mr. Cassady, a copy.
16 Q. No,ma'am. To the August 27, 16 Q. Do you have your copy in front of

17 2018 IEP meeting. /17 you, ma'am?
(18 A. No, because we had an interpreter 18 <A. Yes.
19 in place. 19 Q. Okay. So this -- what was the --
20 Q. Okay. And the interpreter was 20 this is an August 31, 2018 IEP meeting.
|21 not there either, right? 21 What date was this notice sent according to
22 A. But we had an interpreter in 22 your paperwork to Ms.
‘23 place. 23. +A. August 30th. |
16 (Pages 447 - 450)
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1 Q. And is there anything in your 1 Ms. place of employment?
- 2 record that would indicate what time during | 2. A. I don't know who actually told me
_ 3 the day this notice went to Ms. _ 3 that someone had been to her place of
' 4 A. I don't see a time on it. _ 4 employment. I don't remember.

5 Q.. Is there anything in your records |

: 6 that would disclose to you the time that
7 this notice was sent to Ms. foran
| 8 IEP meeting the next morning at eight a.m.? |

3 Q. What records would you look at to
6 investigate the question of how you learned

7 that a Montgomery police officer had been

8 sent to Ms. EM place of employment?

- 9 A. I wouldn't know when it was sent. 9 A. Idon't have any records.
10 I can continue to look through the records. 10 Q. Did you ever discuss that with
11 But I don't know. 11 anyone else that the Montgomery police had
(12 Q. Is this the date -- did you have 12 been to Ms. IM place of employment?
/13 aconversation with a Montgomery police 13 A. Not that I can remember.
|14 officer about going to see Ms. I at 14 Q. Did you ever discuss it with
15 work? 15 Ms.
| 16 A. Idid not. 16 A. I don't remember.
(17. Q. Have you ever heard of that? 17. Q. And do you know why the
(18 A. That what? 18 Montgomery police were sent to Ms.
.19 QQ. Have you ever heard that this 19 place of employment? |

20 district sent a Montgomery police officer ‘20. A. Idonot know.
21 to Ms. MM place of employment while 21 Q._ I've marked as Exhibit Number 22

22 she was working? 22 anotice invitation to a meeting that says
23. A. I don't know of Millbrook Middle 23 date notice sent August 30, 2018 for an IEP
. Page 452 Page 454

meeting the next morning on August 31,

] or anyone sending a police officer. |
2018. Now, what does it say on results of

1
2 Q. Well, you put emphasis, if I may, 2
3 onthe word sending. Are you aware, do you | 3 first attempt, first attempt to contact the
| 4 have any knowledge of a police officer | 4 parent with the IEP team meeting?
_ 5 going to Ms. MM place ofemployment | 5 A. August -- for the notice for the
6 to communicate to her something related to 6 August 31st meeting?
7 FEM being in school? 7 Q. Yes, ma'am.

8

. 8 A. Yes. A. The first attempt, notice sent
. 9 QQ. What do you know about that? 9 home. Phone call and text. No response.
10 A. That's all I know. 10 Q. How was a notice sent home to
11 QQ. How do you know about that? ‘11 Ms. J on August 30th, 2018?
12. <A. Because when I -- let me make (12. A. Idon't know.
13 sure. It had to be -- I don't know the 13. Q. Do you have any reason to believe
14 actual date when I knew that a police 14 that someone personally drove it out there
15 officer had been to her job. I don't know 15 to her house?
16 if I -- I don't know the exact date. I 16 A. Well, was on campus on the
17 knew the date of the incident that they 17 30th. So I don't know.
18 were trying to make contact with her. They 18 Q. Do you have any reason to believe
19 weren't successful. But I don't know if 19 that it was put in his backpack or
20 that's when I knew or not. It could have ‘20 something like that?
21 been. I don't know. It could have been. .21 A. Could have been. I don't know
22 QQ. How did you learn that a 22 how it was given to her.

23 Montgomery police officer had been sent to 23. Q. Who would know?

17 (Pages 451 - 454)

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eee
Ne Oo

Oo On NOMNP WN —

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Page 455

The teacher. The case manager.

And who is that?

Ms. Perry, Tina Perry.

And then it says phone call and
Who texted Ms.

I don't know.

How would you find out?

I would have to ask.

Who would you ask?

The case manager.

Who is that?

Ms. Perry.

And, now, it says the second

OD POPOFOPEO>PO>D

attempt was made on August 31, 2018. That |

is the date of the IEP meeting?

A. Uh-huh.

Q. Correct?

A. Correct.

Q. And you are aware as the special
education coordinator that more than one

Page 457
I'd have to ask the case manager.
And that's Sylvia Daniel?
No. Ms. Perry.
Did MM come to school, come
that day on August 31, 2018?
A. Idon't know. I don't know.
MR.CASSADY: Your Honor, we would
move to admit the notice which is
Plaintiff's Exhibit 22.
HEARING OFFICER: Any objection?
MS. TATUM: Which notice is that,
the August 31?
MR. CASSADY: Yes.
MS. TATUM: No objection.
HEARING OFFICER: No objection
being made, Plaintiff's Exhibit Number 22
is admitted into evidence.
Q. So you have no personal knowledge
of any notice being sent to Ms. IM for
any of these IEP meetings because -- and

O>o>

.21 attempt must be made to notify the parents 21 we're talking about the ones in August.
22 of an IEP meeting. You know that? 22 There were three. You don't have any
23 =+A. Yes. ‘23 knowledge of that because you did not do it
Page 456 | Page 458
1 Q.. And you know that the reason for 1 personally yourself, right?
2 that is because parents are often working 2 A. Ihave no knowledge of who sent
3 themselves and that the date may not be 3 them, but the record indicates they were
_ 4 convenient for them. Do you understand? 4 sent.
' 5 A. ITunderstand. 5 Q. Well --
6 Q. And then it says what -- what was 6 A. Communication is made with the
_ 7 the second attempt made to try to notify 7 parent.
8 Ms. of the second -- first, what was 8 Q. You printed these out from your
_ 9 the date of the second attempt? 9 computer yesterday for the August 27, 2018
(10 A. August 31st. 10 and the August 31, 2018 meetings. You went.
11 Q. And the IEP meeting wasto begin 11 into your computer yesterday and printed
‘12 that morning at eight a.m.? 12 out these notices of the IEP meetings,
13° A. Yes. (13 right?
‘14 Q. And it says what? How was the /14 A. Right.
'15 second attempt made on August 31 with the : 15 Q. And did your computer, when you
:16 IEP meeting to begin that morning at '16 -- when you pulled that up, did it have a
17 eight a.m.? 17 record that someone -- is a record made
18 <A. Phone call. No response. Parent i 18 that someone sent it or how it was
19 did not attend meeting. 19 transmitted?
20 Q. Does that mean that -- well, so 20 A. Ididn't look for that. In the
21 who called her? 21 time I had, I went and printed it. I
22 A. Idon't know. ‘22 didn't know all of those things.
23 Q. How would you find out? 23. Q. You say you did not look for it.
18 (Pages 455 - 458)
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| I Is there a way in your computer to tell who = 1  Q. Do you know whose handwriting

, 2 sent the notices for the August 20, August 2 this is?

_ 3 27, and August 31 IEP meetings? ' 3 +A. Idonot.

4 A. Whocreated the document. It - 4 Q. You were not present at this IEP

' 5 would show who was in there at a certain 5 meeting?

' 6 time in that child's file. 6 A. Itdoesn't say I was. I don't

1 7 Q. So it would show when that 7 see my name on it. No.

| 8 document was created? 8 QQ. Do you know what the last day of

9 A. It would show an audit 9 school was that ij attended Millbrook

10 trail of who has been in that child's 10 Middle School?

11 folder. 11 A. Idonot.

‘12. Q. And do you know how to print it 12. Q. Do you know how we wouldfinda |

13 from your screen? 13 record of that?

(14 A. Icantry. (14 A. It would just be his attendance.

15  Q. And do you know how to print the = 15 MR. CASSADY: 23. |

/16 audit trail? | 16 MS. TATUM: Oh, that's fine. I

17. A. Iwill do my best. | 17 have no objection.

18  Q.. And is that computer here at this 18 HEARING OFFICER: Plaintiff's

‘19 physical facility we're at today? 19 Exhibit Number 23 is admitted without

20 A. Ihave acomputer. '20 objection.

21 Q. Allright. And so you said that 21 MR. CASSADY: These are the

22 it will have an audit trail. What is in 22 meeting minutes, Your Honor, for the August’

23 the audit trail? '23 31,2018 meeting.
Page 460 | Page 462 |

Q. Okay. It says under discussion,
quote, The IEP team met to discuss recent

Q. And the date and time they were continued behavior episodes and safety, end
in it? | 4 quote. What recent behavior had occurred

1 A. Just showing who has been in and 1
2 2
3 3
4 4
' 5 A. I'd have to look and see. I | 5 between the August 31, 2018 IEP meeting --
| 6 6
7 7
8 8

out of the file. |

can't really tell you exactly what all is _ 6 I'msorry. Yes -- and the August 27, 2018
included or what it actually says. I'd 7 IEP meeting? We're talking about a week
have to go back and look. since the August 27, 2018 IEP meeting.

: 9 QQ. Does it state when the -- does it 9 What was the recent behavior in that week?
10 state who sent the notice? 10 <A. On page seven sixty-two, it reads
‘Jl A. No. 11 at the very bottom starting with, JJ has
112 Q. Okay. So the minutes which are 12 continued to have behaviors of aggression,

/13 document seven sixty-two for the August 31, 13 physical and verbal, toward people and
-14 2018 IEP meeting, are you at that document, 14 property. In review, the IEP team

15 please, ma'am? 15 previously met on 8/20 and 8/27 with Mom
16 A. Yes. 16 present, physically 8/20 and by phone on |
17 Q. And it says that Paula Strong, 17 8/27 to discuss concerns for J |

18 the interpreter, was invited to this 18 behavior. The team has been concerned for |
19 meeting. Do you see that? 19 (J safety and the safety of others. |

‘20 A. Yes. ‘20 Q. Are you able to identify for

.21 Q. And do you know why she was :21 Judge Cole any specific?
22 invited? 22 A. That was seven sixty-three. I'm

(23 =A. Idonot. 23 sorry, sir. I need to give the page.

19 (Pages 459 - 462)

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Page 463 | Page 465.
_ 1 Seven sixty-three. | 1 and the IEP meeting on August 31, 2018?
2 Q. Are you able to identify to Judge ' 2 A. Notto my knowledge.
_ 3 Cole any specific incidence of conduct that | 3  Q. Have you read these documents
| 4 BBB engaged in during the time period 4 before that you've just identified?
' 5 between the August 27, 2018 IEP and the 5 A. No.
| 6 August 31,2018 IEP meeting? 6 Q. You've never read them before

7 today?

8

7 A. Yes. Give me a second.
8 MS. TATUM: Mr. Hearing Officer, A. Only the seven -- the seven forty

_ 9 may I be permitted to direct Ms. McElrath | 9 to seven forty-five, the restraint forms.
10 to page numbers? , 10 A copy comes to our office.
dl HEARING OFFICER: Sure. | 11 Q.. First I'd like -- I've marked as
12 MS. TATUM: In the white notebook, 12 23 --
13 that's where you are. 13 MR. CASSADY: Is 23 in, Your
14 THE WITNESS: Go ahead. 14 Honor? It's the IEP meeting she has no
15 MS. TATUM: In the white notebook. (15 objection to.
16 In the white notebook there's a table of ‘16 HEARING OFFICER: Yes. It's in.
17 contents, and it may provide assistance as (17 Q. Now,Ido want to go back to
‘18 far as documents that you're looking for. 18 these meeting minutes if you have these for
19 THE WITNESS: Okay. 19 a minute which are 23.
‘20 A. Okay. ‘20 A. Is that August 27?
21. Q. What document are you lookingat (21 Q. August 31,2018.
‘22 now? 22 A. Okay.
(23. A. In Tab 13, Exhibit 13 of this 23 Q. Okay. Do you see in the -- on
| Page 464 Page 466 -
, 1 notebook, there's an office referral for _ | the first paragraph it says, quote, The IEP
— 2 8/28/18. 2 team met to discuss recent continued
3. Q. Are there any other documents? | 3 behavior episodes and safety. J
4 first want to identify the documents that _ 4 mother, Ms. I was invited to the |
5 have specific incidences of conduct that 5 meeting but did not respond. And then it :
6 occurred between the August 27,2018 IEP 6 says parenthesis, Ms. was given a
7 meeting and the August 31,2018 IEP 7 written invitation, phone messages and text
_ 8 meeting. And we'll talk about the 8 message. RRM uncle who picked him up
9 documents, but I want to identify them _ 9 8/30 which is the day before was also told
10 first. Okay. You're at tab? 10 about the meeting in order to tell
WA. 13. 11 Ms. close parenthesis. Then it
12 Q. 13. Are there any others? | 12 says, quote, Team members were introduced —
13. A. Yes. Tab 14. '13 and Ms. J was called by the special ed
‘14 Q. Okay. Any others? |14 teacher with no answer. Meeting purpose
15 A. Seven forty and seven forty-one, .15 was stated, end quote. So now the meeting
16 seven forty-two, seven forty-three, seven 16 begins, right?
17 forty-four, seven forty-five. | 17 A. Yes.
18 QQ. Are there any documents other ‘18 Q. According to your documentation?

19 than what you've identified as Tabs 13 and = =19 A. Yes.
20 14 and then educational records seven forty 20 Q. So the meeting has started at
21 through seven forty-five that contain 21 eight o'clock. The second attempt to
22 specific incidences of conduct by I |22 notify Ms. J has been that they called
23 between the IEP meeting on August 27, 2018 | 23 her I guess a few minutes before eight

20 (Pages 463 - 466)

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| 1 o'clock and she did not answer. So that _ 1 parent?
_ 2 was the second attempt to give her notice, | 2 A. Looked where?
| 3 right? 3 Q. Anywhere.
4 A. Idon'tknow what happened prior | 4 A. No.
5 to. 5 Q. Allright. Now, so I've marked
6 Q. Okay. Well, but you know from ' 6 as Plaintiff's Exhibit 24 that she tabs out
| 7 the form we've just been over which is | 7 that she identified. I want to hand these
| 8 required by IDEA that her second invitation | 8 to opposing counsel so she can take a look
"9 to the August 31,2018 IEP meeting was on | 9 if she wants to.
10 the morning of August 31, 2018? 10 MS. TATUM: Are they Respondent's
|11 A. According to the document, yes. 11 Exhibit 13 and 14?
‘12  Q. Right. And you know from these 12 MR. CASSADY: Well, this is
| 13 meeting minutes that someone tried to call 13 currently -- yes. They were from that, but
14 her. When the IEP team met to discuss 14 this is now my Exhibit 24.
-]5 recent continued behavior and then it says 15 MS. TATUM: No objection.
16 Ms. RG was called, right? 16 MR.CASSADY: And then also these |
17 A. Yes. 17 are documents seven forty through seven |
18 Q. Okay. Now, are you aware of any _, 18 forty-five which she identified just a
19 special education regulation or anything _19 moment ago as Plaintiff's Exhibit 25.
20 in -- that -- for instance, the Alabama '20 MS. TATUM: No objection.
21 Special Education Department publishes all ! 21 HEARING OFFICER: No objection
22 sorts of materials on complying with 22 being made, Petitioner's Exhibit Number 24
23 special education law, right? 23 and Petitioner's Exhibit Number 25 are
Page 468 Page 470
A. Yes. 1 admitted into evidence.
Q. And it's on their website and 2 MS. TATUM: Mr. Hearing Officer,
anybody that wants to look at it can, , 3 since Mr. Cassady is not giving me any
right? 4 copies of the exhibits, on a break can I

5
Q. For instance, there's a whole 6 HEARING OFFICER: Sure.
series called mastering the maze. Have you 7 Absolutely.
ever seen those? 8 MR. CASSADY: The records we've
9 A. Yes. 9 identified has the Bates stamp number and

10 Q. Okay. And are you familiar with .10 it's readily available if someone wants to
11 any authority of any type forthe Alabama _—‘11_ look.
12 Department of Special Education, in their (12 Q. Would youturnto Tab 13, please. |
13 website, anything that's been published or 13 Now, do you know who's signature this is at
14 anything like that that says that the 14 the bottom of this page which says Elmore
15 second attempt to notify a parent of an IEP 115 County Schools office referral? It's dated
16 meeting can be made when the IEP meeting | 16 August 28, 2018.

!

2

3

4 1

5 A. Yes. ' 5 have someone make copies of the exhibits?
6

7

8

17 starts? 17° A. Whose --

18 A. It doesn't indicate. It's just |18 QQ. Do you know whose signature that

19 second attempt. And we have to indicate /19 is?
20 what that second attempt was. ‘20 A. It's the administrator.

21 Q. Okay. So have you -- have you | 21 Q. Do you know whose handwriting it
‘22 ever looked to see what reasonable advance | 22 is in the top? It's a printed handwriting
23 notice is with respect to a notice to a | 23 where it describes the offense.
21 (Pages 467 - 470)
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Page 471 |

A. Ido not know who printed it.

Q. Okay. It says signature,
doesn't -- of employee. Does that say Tina
Perry?

A. It does.

Q. And it says, quote, Hit Ms. Perry
7 8/28 on back of shoulder in classroom. Ten

8 thirty-eight am. A.W., for

9 hit Ms. Chambliss on back in cafeteria and

1
2
3
4
5
6

WO PmernNANANPWND —

10 kicked her about five times, end quote. 10
_11 Did I read that correctly? me
12. A. Yes. (12
‘13. Q. And down in the administrative 13
14 use only it's circled intentional contact | 14
15 of board employee by student. First,have = 15
16 you ever seen a videotape of this? | 16
17. A. No. 17
18 Q. Have you ever seen any videotape 18
19 of Ey 19
20 A. Notto my knowledge. /20
21 Q. And was the -- was the full-time 21

22 interpreter with I IJ at the time he =. 22
23 did this? 23
Page 472 |

A. She should have been. She was 1
assigned to that school. She had no other 2
duty but to be there for him. So where she | 3
was at the time of this incident I wouldn't
' 5 know because I wasn't there.
6 Q. And is there anything on this
_ 7 page that we're looking at that describes |
_ 8 conduct that [J had not engaged in 8
| 9 before Judge Cole's order of April 5, 2018? 9
10

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kicked her about five times in the |
cafeteria, end quote. Then it says,
Describe what you explained to the child
about behaviors prior to end of restraint.
Quote, J was asked to calm down. A.W.)
calmed down and nodded yes. Now, it says
the staff performing the restraint was Tina
Perry, doesn't it?

A. Yes.

Q. And it says the staff observing
restraint was Ms. Chambliss and Jo Ann
Adams?

Yes.

Who is Ms. Chambliss?
Special ed teacher.

Who is Jo Ann Adams?
Paraprofessional.

. Then there's no indication that
the interpreter was present, correct?

A. It doesn't mean she wasn't,
though. It just doesn't indicate.

Q. Well, whoever filled out this
form was supposed to name the staff

O>OPrO>

Page 474 |
observing the restraint. Do you agree with
that?
A. Yes.
Q. Now, then it says, Name of family
guardian notified. Twelve p.m. Mom still
at work. Called, message left. No
response. And it also says an uncle. Can
you tell me his name? Is that Broadneck?
A. I don't know.

A. Anything on this? | 10 Q. Now, this also described conduct
11 = Q. Yes. It says he hit a teacher 11 which J had engaged in many times
12 and he kicked a teacher. Had he done that ‘12. before Judge Cole's order of April 5, 2018,
‘13 before August -- before Judge Cole's order = 13 true?
14 of April 5, 2005? (14 A. Very similar behaviors.
15 A. He had hit teachers and people (15 Q. Are you able to identify any way
16 before. (16 that they're different?
17. Q. And he had hit people before? (17. A. I wasn't there. So I don't know
18 A. Yes. 18 the --
(19 Q. If you would turn to the next -19 Q. And then the next page is another
20 page, please. This says Elmore County 20 referral form dated 8/30. And have you
21 Schools restraint form. 8/28/2018. Andit 21 turned to that yet?
22 describes behaviors and it says, quote, 22 A. Are youon 14?
:23 A.W. hit Ms. Chambliss on the back and 23 Q. Yes, ma'am.

22 (Pages 471 - 474)
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1 A. Yes. 1 listed on this form on August 30, 2018, of
2 Q. Okay. This is Plaintiff's 2 restraint, is she, as a staff observer?
3 Exhibit 24, Tab 14. It says description of 3 She's not listed, is she?
4 offense, 8/30/18, eleven 0 eight a.m. 4 A. August 30, she's listed. Staff
5 BR ER g0t yard stick, tried to hit 5 observe restraint.
6 Ms. Perry and threw computer on the floor. , 6 Q. Is she listed?
7 Administrator called eleven eighteen. AW. _ 7 A. On August 30 I see her name,
8 hit and bit Mr. Kreauter? 8 staff observed restraint.
9 A. Kreauter. / 9 Q. What's her name?
‘10 Q. Mr. Kreauter restrained A.W. Can (10 A. Paula Strong.
11 you read the rest of it? 11 Q.. She's the interpreter?
12 A. A.W.kicked nurse. ‘12 A. Yes.
(13> Q. Then it says? ‘13,5 Q. Okay. Allright. All right.
14 A. Ran out of room at eleven 114 Now, that would indicate that she was not
15 eighteen. It says A.W. kicked nurse eleven 15 with him the day before, wouldn't it? Or
16 eighteen. Eleven thirty-one, ran out of 16 the day of the last restraint form we read
17 room. Do you want me to continue? 17 was at Tab 13. And the observers were
18 Q. Please, ma'am. ‘18 Ms. Chambliss and Jo Ann Adams and
19 A. Hit principal in face multiple /19 Ms. Strong is nowhere mentioned. So that
20 times. Injured and assaulted custodian, ,20 would indicate she was not there on August
21 eleven thirty-three. 21 28,2018?
22 Q. Now, that was written by Tina '22 A. It would indicate that she may
23 Perry? |23 have been at a break. She has to take a
Page 476 Page 475 478°
1 <A. Yes. Well, she signed it. 1 break to use the restroom. I don't know
2 Q. Now, the next page is -- this _ 2 what was occurring at that time, but she
- 3 resulted in restraint, correct? _ 3 was assigned tof and Ij only the
4 A. There's a restraint form for this 4 entire time.
5 one. 5 Q. You agree that you're speculating
6 Q. Yes. That's the next page? 6 that she might have been on a break, aren't
7 A. Yes. 7 you?
8 Q. And the staff observing the 8 A. Iam -- I know that she was on
' 9 restraint are Ms. Jackson. Who is that? 9 her duty as being the interpreter for him.
10 A. That's the principal. 10 Where she was at the time this incident
11 Q. Custodian Mr. Bernard. Mr. -- 11 occurred I do not know.
‘12. A. Kreauter. 12 Q. Okay.
13. Q. --Kreauter. Kreauter. And tell 13. A. But she was on campus.
14 me his position again. 14 Q. You're saying she was on campus
‘15 A. Assistant principal. 15 on both of these dates?
16 Q. And Paula Strong? ‘16 A. Unless she had an absence put in
17 A. Yes. 17 that she was going to be out, she would
18 Q. And what is her position? 18 have been on that campus for [J She
19 A. Interpreter. 19 was assigned only to I
20 Q. And so, again, the -- the sign i20 Q. Allright. And is there any
21 language interpreter or the interpreter 21 conduct that we've reviewed in Plaintiff's
22 that Judge Cole ordered would be with him 22 Exhibit 24 which are Tabs 13 and 14 out of
23 at all times on April 5 of 2018 is not (23 the white binder, is there any conduct
23 (Pages 475 - 478)
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21
(22
(23

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we've reviewed in this that [J had not
engaged in before Judge Cole's order of
April 5, 2018?

A. I don't know.

Q. Okay. Thank you. Now, the next
exhibit I'd like to ask you about would be
document seven forty in the educational
records binder which is Plaintiff's Exhibit
25.

A. Can we take a break?

HEARING OFFICER: Yes, ma'am.
Let's take a mid morning break. She needs
a break. And let's make it ten minutes.
(Brief recess)

HEARING OFFICER: Okay. We'll go | 15 had been -- was entered and it very much |

back on the record and continue with
examination by Mr. Cassady.

MR. CASSADY: Yes, sir. Thank
you.

Q. Now, up until the August 27, 2018
IEP meeting where J was put on
homebound at home, coming to school one
hour a day, Ms. J) had participated in

Page 480

all of the IEP meetings, hadn't she?
A. I believe so.

Q. Okay. But when [jj was put

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Q. If you would, say yes.

A. Yes. Uh-huh.

Q. Now, you had been through a
previous due process hearing with

I
2
3
4
| 5 Ms. J that was because [J had
6 put -- been put on homebound at home and
7 that resulted in Judge Cole's order of
8 April 5, 2018. Do you agree?
; 9 <A. Wehad been through a mediation
10 agreement. I don't recall all the facts
‘11 that led us to that.
/12 QQ. Well, I'll represent to you that |
_13 there was an order and judgment. But you |

14 remember that that prior order and judgment

| 16 concerned whether or not [J should be on
_17 homebound at home or not. Do you remember
18 that?
'19 A. There were a number of things in
| 20 that agreement, but that was one of them,
21 about homebound was addressed in that
:22 agreement.
23 Q. Right. And then Ms. -- after

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1 that order and judgment of Judge Cole
2 returning him to the public school system
3 for a full day, after that order and

back on homebound at home with one hour of 4 judgment was entered, she cooperated from

school a day as a result of the August 27,
2018 IEP, her cooperation ended; is that
correct?

A. I'd have to go and look at the
meetings to know.

Q. Well, is it your -- is it going
to be your testimony -- is it your
testimony that Ms. EE cooperation
ended?

A. In JEP meetings? I'd have to
look at the signature page. Did her
communication end with us trying to provide
services? Yes.

Q. Okay. And when did it end?

A. We made contact throughout.
We've been trying to make contact with her
since the 3 Ist.

5 April 5, 2018 all the way up until August
6 31,2018 when he was put back on homebound
7 at home except for one hour a day. Would
8 you agree with that?
9 A. I don't know if she -- if she
10 actually cooperated throughout. Did she
11 attend IEP meetings or via phone or in
12 person, yes. But day-to-day communication
13. with the parent, I don't know.
‘14  Q. Well, based on your review of the
15 special education file to date, would you |
| 16 say that it is true that Ms.
_ 17 cooperated with the district from the date
18 of April 5, 2018, the date of Judge Cole's
| 19 judgment, up until August 31,2018 when
| 20 [EJ was put on homebound at home again
21 except that he was going to come to school

Q. August 31,2018? '22 one hour a day?
A. Uh-huh. (23 A. No.
24 (Pages 479 - 482)
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1 Q. Actually it was August 27, 2018? 1 file? |
2 ~~ A. No. 2 <A. Only when she did not make
' 3  Q. Okay. 3 contact on the 27th. She could not be

4 A. Iwill not say that she 4 reached. I don't have any more

5 cooperated fully. Did she participate in ' 5 documentation.

6 the IEP meetings? Yes. But to fully | 6 Q. Or personal knowledge?

7 cooperate and communicate, no. 7 A. Idon't have any more

8 Q. Please identify to Judge Cole 8 documentation.

9 each incidence of non-cooperation by ' 9 Q. But do you have personal
10

Ms. between his judgment date of | 10 knowledge with your eyes or own ears of
11 April 5, 2018 and August 27, 2018 when -11 communicating with her yourself between
12 he -- when [J was put back on homebound 12 those two dates that she didn't cooperate?

13 except for one hour -- homebound athome 13 A. Iknow that we had a struggle

14 except for one hour per day? 14 with her for her to communicate with us,
15 A. That would have tocome from the | 15 but I don't have specifics nor do I have
16 instructor and the base schools. 16 any records to support that.
17 HEARING OFFICER: Ithinkher ‘17 Q. Okay.
18 issue is that she -- she can say her (18 <A. Okay.
19 personal knowledge but she can't speak ,19 Q. Thank you. Now, the IEP meeting
20 for -- ‘20 minutes of the August 31, 2018 meeting --
21 MR. CASSADY: I understand. ‘21 A. Say that date again, sir.
(22 Q. Is it fair to say that as the (22 Q. Yes,ma'am. August 31, 2018.
23 judge just characterized it, that you on 23 And these are the minutes which have been
Page 484 ) Page 486.
__1 your personal knowledge and your review of — | marked as Plaintiff's Exhibit 23. And I |
_ 2 the file, you're not aware of any 2 would direct you to the second page in the
| 3 incidences of her non-cooperation yourself 3 middle of this first paragraph. I'm going
_ 4 between his judgment of April 5, 2018 and 4 to read where it says, quote -- this is the
_ 5 the August 27, 2018 IEP when J was put 5 fourth line down. Quote, The team has been
"6 back on homebound at home coming to school 6 concerned for [J safety and the safety
- 7 for one hour per day? 7 of others. At the 8/27 meeting, the team
_ 8 A. Ido know that the parent was not 8 reviewed options and decided that, quote,
9 always cooperative nor was she always fully | 9 partial, end quote, homebound option would

10 available, made herself available. Those ‘10 be best for [J would attend
11 specifics I do not have date and time when 11 school, parenthesis, arriving by bus, close
12 contact was made. But generally, do know 12 parenthesis, in the morning and picked up

13 that she was not fully cooperative 13 by his mother, forward slash, family at
14 except for IEP meetings. 14 nine thirty, parenthesis, homebound speech _
‘15 Q. Can you identify a single 15 therapy and academics would be provided at ‘

16 specific incidence of conduct between April 16 school during the morning, close

17 5,2018 when Judge Cole's order was entered 17 parenthesis. Did I read that correctly?
18 and August 27,2018 when [ij was put by. 18 A. Yes.

19 the IEP team back on homebound athome 19 Q. And, now, the district understood

20 except for one hour a day at school, can ‘20 when Judge -- when the first due process

,21 you identify a specific incidence of 21 was filed that the mother is a single

_22 conduct that you either personally 22 mother who works managing a hotel and that
‘23 witnessed or that you've read about in the | 23 she did not agree with any IEP or any

25 (Pages 483 - 486)

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1 homebound program where J did not 1  Q. But you say that it was in his

2 attend a full day of school. That was 2 best -- do you have an opinion -- as the

3 known all along before Judge Cole entered 3 special education coordinator, do you have
_ 4 his order of April 5, 2018, true? 4 an opinion, yes or no, on whether or not it
_5 A. True. 5 was in -- of why it was, quote, best, end
6 Q. Okay. And so now in these August 6 quote, for to go to school for one
' 7 31,2018 IEP minutes, the document, it's 7 hour until nine thirty each morning instead
- 8 stating that the team -- this is -- the _ 8 of being at school all day? Do you have an

9 mother is not present -- has discussed the - 9 opinion?

10 mother having to pick him up every morning 10 A. Idon't have an opinion. I just |

11 at nine thirty a.m. at the school, correct? 11 have the notes supported by the IEPteam.
‘12 A. Yes. 12. Q. Okay. Thank you. And then it
\13. Q. And it was known to the IEP team '13 says, quote, Transportation reimbursement
14 that she did not agree with that, true? '14 was offered by special education versus
15 A. True. But services are afforded 15 homebound and was scheduled to start 8/29,
16 to the child, not the parent. We have to '16 end quote. What transportation !

17 do what is best for him. So the things /17 reimbursement was offered, if youknow?

18 that we were deciding were based on what 18 A. I wasn't there.

19 QR needs were at that time. ‘19 Q. Then it says, quote, J was

20 Q. Okay. And, now, what was your |20 picked up on the 29th as discussed and then
3 21 analysis to reach the conclusion you just 2) had behaviors that escalated to, for .

22 said that that was best for How was | 22 instance, hitting, kicking and biting,
23 that -- how did you arrive -- you just made 23 close parenthesis, aggression toward Six

Page 488 | Page 490
_ 1 that as a declarative statement. What is _ 1 different adults, staff while at school.
_ 2 your analysis that leads you to that 2 EY was eventually picked up by his
_ 3 conclusion that that was best for ~ 3 uncle. His mother was contacted multiple
4 ~~ A. It wasn't just my conclusion. I 4 times. Now, this is after the school
- 5 said the IEP team had to make a decision. 5 district had put him back on homebound,
. 6 Q. What was your contribution to 6 true?
7 that discussion? 7 A. Based on this, yes.
8 A. Idon't remember the details. 8 Q. Homebound at home, correct? |
9 Q. Well, and that's because you 9 A. Well, partial.
10 weren't there, right? 10 Q. And you remember testifying .
‘11 A. Idon't remember. I may not have 11 yesterday that it was not appropriate for

(12 been at this one. You've given me several 12 QJ -- that you did not believe it was
_13 meetings. So I would have to look back and | 13 appropriate for ll to be at home alone

14 see. 14 from nine thirty a.m. until late in the
‘15 QQ. This is one where you were not 15 afternoon. Do you remember saying that
16 present. '16 yesterday?
-17. A. Okay. Well, I was not present, ,17. A. I know it's not appropriate for a
18 then. So I did not have any input. 18 child to be left home alone.

19 Q. So you don't know what they 19 Q. So then you do understand that it
20 discussed, right? 20 is the school district's obligation to

21 A. Well, you and I both have a 21 educate this child and provide a free and
22 snapshot of what they discussed by the ‘22 appropriate education, right?

23 minutes. '23 A. But the mother is a part of the

26 (Pages 487 - 490)

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1 IEP team. But yes. Yes. 1 matter of how that word is interpreted. ;
2 Q. Doyou-- 2 HEARING OFFICER: I understand. |
3 A. Yes. 3 Q. Would you please answer the
4 Q. I want the record to be clear. 4 question?
5 Do you understand that it is the school 5 A. Can you repeat your question?
' 6 district's obligation and the school 6 Q. How does Judge Cole's order of
7 district's obligation alone to provide FAPE 7 April 5, 2018 anticipate that the child
_ 8 which is a free and appropriate education 8 would be delivered to the school?
' 9 to the student? 9 A. It says on number eight the IEP
‘10 A. Public education to I 10 team determines homebound is JJ least
‘11 Q. Is that a yes? 11 restrictive environment. The homebound
‘12 = A. Yes. 12 services shall be provided to JJ at a !
13° Q. Allright. Now -- 13 school or physical education -- or physical
14 A. ButmayI say thateven though we | 14 education -- is that right?

_15 are to provide FAPE, we can't provide if | 15 Q. School district facility.

16 the child is not produced by the parent. 16 HEARING OFFICER: At a school or
'17 We have to have cooperation and | 17 school district --

18 communication with the parent in order for (18 A. I'msorry. I'm missing a page.

19 FAPE to be provided. I can't go into her 19 So I don't --
20 home without her allowing me there, even in ‘20 HEARING OFFICER: Let's get you -- _

21 attempting to provide FAPE. 21 that copy might not have it all, but here

22 Q. Let me show you Judge Cole's '22 is the next page. |
23 order and judgment. 23 MR. CASSADY: We probably need to |
. Page 492 | Page 494 |

MR. CASSADY: And, Your Honor, substitute that one, Your Honor. That's
the one that's marked.

HEARING OFFICER: It is. And it's
just missing a page. It's missing the

1
under the -- 2
3
4
5 second page.
6
7
8

1

2

3 Q. Doyou have his order and

4 judgment with you?
5 HEARING OFFICER: She does.

6 A. Yes. |
| 7 Q. Where does Judge Cole's judgment
_ 8 of April 5, 2018 say that the child will be

MR. CASSADY: Okay. This one is
correct. So if I may substitute.
HEARING OFFICER: Yeah.

_ 9 delivered by the mother to the school? 9 Absolutely. Put another 21 and I'll give
‘10 A. Well, it doesn't say anything 10 you that one back.
| 11 about her being a single mom either and 11 MR. CASSADY: Yes, sir.
_12 that we have to make accommodations because 12 HEARING OFFICER: Total number of;
‘13. she's a single mom and she works. 13 pages.
114 MR. CASSADY: We would ask that 14 Q. There's 21. If you would go back
_15 Your Honor direct the witness to not be 15 to paragraph eight of Judge Cole's order. !
16 aggressive in response and answer the 16 And we were discussing the issue of the
17 questions. 17 parent, how the parent would deliver the |
18 MS. TATUM: I'm going to object. 18 child to the school. That was what you had
19 She wasn't aggressive. 19 mentioned. So if you would, look at
20 HEARING OFFICER: She may have 20 paragraph eight. |
21 been non-responsive, but she wasn't 21. A. I was on the second page under --
22 aggressive. 22 Q. Next page.
23 MR. CASSADY: Well, it's all a |23 A. Transportation as a related |

27 (Pages 491 - 494)

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service shall be provided by the LEA ]
pursuant to IDEA regulation. | 2
Q. IfI may stop you there. | 3
A. Uh-huh. ' 4
Q. So transportation as a related | 5
service shall be provided by the local 6
education agency pursuant to IDEA 7
regulations, end quote? | 8
A. Uh-huh. 1 9
Q. Now, do the IDEA regulations -- 10
what does -- what is the transportation in ld
the IEP that put him back at home, 12
homebound at home? And that would be the 13
August 27, 2018 IEP. What does it say (14
about transportation being provided? And 15
if you'll give us the document number, 16
please. 17
A. You said August 27? 18
Q. Yes. ‘19
A. Okay. 20
Q. What does it say about 2)
transportation in the August 27,2018 IEP? (22
A. Does the student require | 23
Page 496 |
transportation as a related service? Yes. ‘|
If yes checked, any transportation needs. 2
Adult support, preferential seating, 3
behavior intervention plan, restraint 4
system. And specific type, safety vest. 5
Q. So Judge Cole's order that i 6
transportation as a related service shall 7
be provided by the LEA pursuant to the IDEA 8

Page 497
Q. What page is that, please?
A. Seven twenty-six.

Q. And it doesn't -- the IEP team
didn't write anything in that IEP on August
27, 2018 about reimbursement, did they?

A. On August 27th on page seven
twenty-four, the homebound teachers will
provide services to the on -- on-campus
transportation will be provided to school.
Today we requested location in order to
provide transportation for homebound
services. Mom was unable to provide
location or address at this time for
student to return home.

Q. To return home at nine
thirty a.m., right?

A. Yes.

Q. Okay. Because the bus had been
picking J up. So they knew where to
pick him up at seven o'clock or six
forty-five, whatever time he gets on the
bus, right? That IEP of August 27, 2018 is
referring to the mom declining to give an

Page 498
address where a bus can deliver him at nine
thirty in the morning at the end of his
morning at school, right?

A. Yes. |

Q. Okay. So how -- is -- all right. |
Now, so you also said that -- and that was,
because the mom said I'l] be at work and |
you can't leave him there athome. Andso_ |

_ 9 regulations, in the August 27, 2018 IEP, it "9 she refused to give you an address for a
10 says that the school is going to transport 10 bus to take him at nine thirty in the
.11 him as a related service? 11 morning, right?
12. A. Itsays it's a related service. 12 A. I don't know if she said that.
13 But under IDEA, if for some reason there's 13  Q. Now, you were at the meeting. So
14 a safety concern or the child cannot ride 14 you have no recollection of what she said
15 the bus, I can reimburse the parent or 15 about that?
_16 whoever she so chooses reimbursement for 16 A. I donot know if that's what she
17 transporting the child back and forth. 17 had.
(18 Q. ButI'm talking about what the 18  Q. She was at this meeting?
| 19 IEP says on August 27, 2018. ‘19 A. ButI don't know if that's
20 A. Butit's a related service. 20 exactly what she said.
‘21. Q. And you're looking at that '21 Q. Allright. Now, so you say that
‘22 document? {22 IDEA permits instead of -- that if
23. A. Yes. |23 something -- if a judge orders that
28 (Pages 495 - 498)
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I transportation as a related service shall |
2 be provided by the local education agency 2
3 pursuant to IDEA regulations, end quote, (3
4 you believe that means -- 4
5 MR. CASSADY: First of all, Your 5
6 Honor, did you find there's any ambiguity —§ 6
7 in that language? Because if there is 7
8 ambiguity in that language to you, then it 8
9 means what it means. Transportation 9
10 service -- 10
11 HEARING OFFICER: I see no 11
12 ambiguity in the language. (12
13 MR.CASSADY: Then I don't need to | 13
14 ask about it. (14
15 Q. Now, what does the -- the last 15
16 IEP was August 31, 2018, correct? a)
(17. A. Yes. Well, the last one that you 17
18 and I spoke of. 18
(19 Q. Well, is there one after that? 19
20 =A. I'll look and see. 20
21 MS.TATUM: There's more IEP's in 21
22 the white notebook. 22
23 THE WITNESS: In the white 23
| Page 500 |
~ 1 notebook. |
2 MS. TATUM: One September 14. | 2
3  Q. Well, let's stick with the August 3
~ 4 31,2018 IEP. 4
5 A. September 14th and September 28th | 5
6 are also dates in the first book. | 6
: 7 Q. If wecould, let's stick with the 7
' 8 August 31,2018 IEP, please. a)
: 9 A. Okay. 9
10 Q. Are you at that document? 10
11 =A. Yes. ne
12. Q. And would you turn to the special 12
13 education services page, please? 13
14 A. Okay 14
15 Q. So it says that the -- it says | 15
16 under -- what does it say under 16
17 supplementary aides and services? (17

18 A. Page seveneighty, requires 18

19 the assistance of an ASL interpreter for 19
20 academics in order to communicate with | 20
21 others. She will assist during all 21
i22 academic related services. This is as of 22

23 September 4th, 2018 to 5/22/2019. The | 23

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: |
Page 501.

amount of time, two hundred and forty
minutes. And it says weekly. Then weekly
again for sixty minutes September 4th
through 5/22. Location home. Allow
additional time for the completion of
assessments. A human reader will read
assessments to the student. Calculators
will be used.

Q. And in this August 31, 2018 IEP,
the location of all of the services --
well, the location of services for explicit
instruction in reading and language arts
would be at home for forty-five minutes
weekly. Is that what that says?

A. Yes.

Q. Okay. And it says that he'll --
it will be provided by the homebound
teacher. And who was that?

A. Susan Lambert.

Q. And then it says that all the
services are going to be provided at home
except -- and I mean his home actually,
right? Except that it says he'll receive

|

|

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thirty minutes of daily living skills
instruction weekly. And that's going to be
the resource room, is that correct, or is
that -- what is -- which one is being --

A. A homebound teacher to make
modifications and accommodations to
activities and assignments.

Q. So--

A. Is that the one?

Q. So now this means that he's --
there's nothing -- on the August 31, 2018
IEP, that shows him receiving instruction
in any subjects at the actual physical
school location.

A. Remember, I wasn't at that
meeting. So I don't know what they
decided. And it may not be communicated
here. But yeah.

Q. Well, but an IEP is supposed to
indicate what services are being provided.
Do you agree with that?

A. In the services, yes.

Q. And it also says the location of

29 (Pages 499 - 502)

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1 services. And I'm asking you if you -- 1 will receive academic and speech services
2 A. What dol see? Home. | 2 athome. ASL interpreter will travel with
3. Q. I'masking you what the IEP says. | 3 homebound teacher and SLP for homebound |
4 Where is services -- if he will receive any . 4 services. And then it gives the schedule
5 academic services at the physical school | 5 or the --
6 location in this May 30 -- in this August . 6 Q. Sois your answer that as of
7 31,2018 IEP? - 7 August 31,2018 he was not going to be
8 <A. It does not -- | 8 permitted to come to a school facility at
9 Q. Okay. . 9 all?
10 A. --on the services page. 10 A. Based on this, his services were
11 Q. So inthis August 31,2018 IEP, 11 going to be at home.
12 how many -- how much is he going to (12 Q. Okay. Now, do you know, yes or
-13 actually come to school? Is he going to 13 no, if the BCBA and the interpreter have
_14 come to school in this IEP? 14 ever met at the same time with the student? |
.15 A. If we go back to page seven .15 A. The parent has not allowed us to
16 sixty-eight for the August 31st meeting. 16 serve him at home for this to even take
17 Q. Okay. What is -- are these (17 place.
/18 minutes or is this something else you're 18 Q. ButI'mnot talking about at
19 reading? 19 home. I'm talking about before.
20 A. This is the IEP. 20 <A. Atschool?
‘21. Q. May I see what you're looking at? 21 Q. Yes.
22 A. Yes, sir. Seven sixty-eight 22. A. Idon't know. I don't know.
23 right here. 23. Q. And that's what I'm asking.
Page 504 Page 506 '
1 Q. Okay. 1 A. Yes. I don't know.
2 A. That would be your second page. | 2 Q. So it's clear for the record, as
- 3 So at the top of the second page of the "3 far as you know as the special education
_ 4 JEP, this was for the amendment date of | 4 director, after Judge Cole's April 5, 2018
5 August 31st, 2018. It says, Original | 5 order, you have no knowledge the BCBA and
6 homebound option was attempted. However, | 6 the interpreter ever met together with the
7 on 8/30/2018 was not picked up at _=~=—S_7 child at a school facility?
8 nine thirty. Teacher assisted principal. ' 8 A. I would not know the actual date

9 Special education director attempted to 9 and time. Do I know that the BCBA and the

10 contact mother at 8/30/2018 to inquire 10 interpreter was there for him? Yes. There

11 about transportation. Parent did not 11. was an interpreter for him. .

12 respond to messages or contact school. 12  Q. That's not my question.

13 JJ behavior -- behaviors escalated 13° A. No,Ido not.

14 during and after lunch. Teacher and ‘14 Q. And I'm going to make it clear

15 assistant principal attempted to contact |15 for the record because I'm quite sure we'll
-16 parent and left messages on phone and at 16 be needing this record. My question is

17 work. Behavior continued to escalate. IEP 17 after Judge Cole's April 5, 2018 order, do
18 team considered options for [J and 18 you know if the BCBA and the interpreter

 

19 agreed that homebound services at home !19 hired by the district ever met with
/20 would be best option until behaviors are 20 the three of them at the same time at a
21 better under control. BCBA will continue 21 school district facility? And if your

22 to work with student and staff while 22 answer is no --

23 student receives homebound services. J 23 A. Ido not know.

30 (Pages 503 - 506)

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1 Q. Thank you. Now, in this August 1 underneath that jj must be accompanied
2 31,2018 IEP which has been marked as 2 by a paraprofessional or other staff .
3 Exhibit 26, what does it say about 3 member. Did I read the IEP correctly?
_' 4 transportation in the IEP as a related _ 4 A. You read it correctly.

' 5 service? 5  Q. And that has not been done after
6 A. Itsays on page seven seventy -- | 6 August 31,2018, has it?
7 I think that's the right one. 7 A. He was placed on homebound. So
8 Q. What's under the section 8 the plan for [J was to have a
9 transportation, right? 9 progression, a transition plan for him to

‘10 A. Uh-huh. Give me one second. 10 come back to school. So he would need to
'11 Just making sure I have the right one. 11 have bus in his plan because it was not our
12 Q. Sure. .12 intent for him to be at home the entire

13. A. Yes. Okay. :13 time. The BCBA was going to work with us |
(14 Q. And it says? 14 and with jin order to transition him

15 A. Bus. ‘15 back for a full day.

16 Q. Bus for special needs? ‘16 Q. Now, it had been a transition

17. A. Uh-huh. 17 plan in prior IEP's. But I want to ask

18 Q. And if you would say yes. 18 you. You understand that an IEP describes

19 A. Yes. _19 the services to be provided so that the

20 Q. And that's not, in fact, what the 20 parent knows what's going to be provided,

21 IEP team decided on August 31, 2018, is it? ! 21 correct?
22 They did not decide he would have abusfor 22 A. Not just the parent. But yes,
23 special needs, or did they? That's what 23 all.

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1 the IEP says. 1 Q. And everyone?
2 A. This says bus for special needs. 2 A. Everyone responsible for
3 Once again, I wasn't there. So I don't _ 3 implementation.
| 4 know all the ins and outs. But what I see . 4 Q. Are you saying that this

5 is bus for special needs is checked. _ 5 transportation description was accurate or

6

7

8

Q. So according to the August 31, _ 6 amistake or just that somebody needs to

2018 IEP, he was still to receive a bus for 7 explain that it means? Well, yeah. We
_ 8 special needs, right? 8 said those things, but really we were
9 A. Yes. 9 talking about a transition later. Which
:10 Q. That's what it says? 10 one is it?
Il A. It does. .11. A. Wehad already spoken about a
(12> Q. And he was to receive -- as of 12 transition. In this IEP meeting that I was
,13 August 31 at the conclusion of that IEP 13 nota part of it, the amendment stated that |
14 meeting, the IEP team decided according to 14 the homebound option, the other option for
15 this IEP of August 31, 2018 he would 15 homebound had already been considered. He:
16 receive a bus for special needs, that he 16 was now being placed home. And like I

17 would get preferential seating. He would 17 said, we have documentation. We talked
18 have adult support. He would have a 18 about it before. The goal was to have him

19 behavioral intervention plan and he would 19 transition back to school for a full day
20 have a restraint system. And then it says 20 with the help of the BCBA.

21 the bus driver and support personnel are 21 Q. Now, this IEP was not signed by
|22 aware of the student's behavioral and/or 22 any of the members on August 31st, 2018, |
23 medical concerns. And then it says 23 was it? ;

a.

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' 1 A. What you have in front of you is 1 attendance.
_ 2 not signed. I'm sure there's -- 2 HEARING OFFICER: Will you check
3  Q. You're sure there is a signed _ 3 during the break?
- 4 copy? 4 THE WITNESS: Yes, sir. I can.
'5 A. It should be a signature page. ' 5 Q. Signature page of August 31 IEP.
6 Q. And why should there be _ 6 Now, would you turn in this August 31, 2018 |
| 7 signatures on the IEP? 7 IEP to the annual goal for language arts,
: 8 A. Attendance. | 8 please?
| 9 Q. To prove they attended, right? | 9 A. Can you give me the page number?
/10 A. Yes. 10 Q. Ihave seven fifty-four at the
11 Q. And so where is the one with the 11 bottom of mine. And I'm going to read,
12 signatures? Does yours have signatures? 12 please, and tell me if this is accurate,
13. A. Did you have the page number? 13 the measurable annual goal. Quote,
‘14 Q. My document signature page is 14 will develop a sequence of events using
| 15 seven sixty-one. And that would be out of 15 written or illustrated steps provided.
16 the -- 16 Example, develop a personal schedule, task
‘17. A. This notebook. It does not have 17 list or directions for completing a task
.18 the original signatures as they are typed 18 using written or illustrated steps provided
19 in. So it's not the original, but it has 19 with an accuracy of seventy percent or ;
20 the names of the participants of people 20 greater by May 22, 2018, end quote. So !
21 that attended. 21 that's the same typographical error now
22 Q. But you said there would be a 22 that we've seen in at least three IEP's,
23 signature page? :23 true?
: Page $12 , Page 514 ,
1 A. Wesign one. Normally what 1 A. I'd have to go back and look.
_ 2 happens -- now, here I was not in | 2 But if it is, it's an oversight on our
3 attendance at this meeting. But we sign | 3 part. 2018/19 IEP.
4 the signature page at the end of the 4 Q. Sure. So you agree that this
. 5 meeting. The names, of course, the 5 measurable annual goal has a deadline date
6 signatures won't go into the computer. You ‘ 6 that's already passed from when this IEP
7 have to type in who was there. ' 7 was written.
8 Q. Well, in the previous IEP's you 8 A. This is acurrent IEP. So we're
9 stated that a draft is printed out and then _ 9 going to actually complete it by 2019. It
10 at the end of the meeting they sign it? _10 was an oversight.
11 A. Uh-huh. 11 > Q.. But that's not so much my point
12 Q. With their pens, right? 12 as to ask you this. If each IEP team
13. A. Correct. | 13 member has read this IEP at every IEP
14 Q. Do you have -- yes or no, do you 14 meeting and participated as they're
15 know why there are no signatures on the ! 15 required by law to do, why has no one
16 August 31,2018 IEP? 16 caught that mistake?
17. A. Idonot know with the copy that | 17. A. Ican't answer it. I don't know.
18 you've been provided why there are no ‘18 = Q. Thank you.
19 signatures. (19 A. Uh-huh.
‘20 Q. Have you ever seen a copy that :20  Q. Would you please tell us what the
21 did have signatures? 21 next IEP date was?
22 A. Idon't recall looking at the IEP | 22 MR. CASSADY: Judge, this is
23 for August 31st because I was not in 23 Plaintiff's Exhibit 26. It's the August
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~ 1 31,2018 IEP. ' | system.
2 HEARING OFFICER: Okay. Any ' 2 Q. And so when the IEP team members
| 3 objection to Plaintiffs Exhibit Number 26? | 3 sign an IEP, they put the date at the side
4 MS. TATUM: Which is which IEP? | 4 of their signature, don't they?
5 HEARING OFFICER: The IEP of | 5 A. Wedon't. Sometimes they just
_ 6 August 31. : 6 sign. I don't know if they put the date.
7 MS. TATUM: Oh, no objection. | 7 Q. Okay. All right.
8 HEARING OFFICER: No objection 8 A. Ifthe date is typed in there by
9 9

| 9 being made, Plaintiff's Exhibit Number 26 ‘| 9 the name.

10 is admitted into evidence. (10  Q. They don't ever back date them,
11 MS. TATUM: Is it a clean copy? '11 do they?

| 12 HEARING OFFICER: It'srighthere ,12 A. No.

'13 on top. | 13. Q. Okay. Thank you. Now, so this
14 MS. TATUM: No objection. ‘14 TEP, let's start with the required by law

15 HEARING OFFICER: No objection 15 notice to Ms. J Would you tell me
16 being made, Petitioner's Exhibit Number 26 . 16 where that is, please? And we are

17 is admitted into evidence. 17 referring to --

18  Q. And would you tell me, please, ‘18 A. I think this meeting was actually
19 the next IEP meeting that occurred? 19 aresolution meeting. This was a

20 <A. September the 14th, 2018. 20 resolution meeting that we held on

21 Q. And first, would you tell us who 21 September 14th.

22 signed this IEP? 22 Q. September 14, 2018?

| 23. =A. «Yes, sir.

23. A. Idon't have the original
Page 516 | Page 518

1 signature page, but I have the people that 1 Q.. Allright. And this is the
2 were in attendance. - 2 resolution meeting that in the second due
3 Q. So, again, this is an IEP that's | 3 process hearing that was dismissed, it was
4 not signed by any of the members who were | 4 claimed by the school district that no
5 there, right? | 5 resolution meeting was held. Do you
6 <A. There may be a signature page. _ 6 remember that?
7 I'll look for the original. 7 A. I[donot.
8 QQ. Could you tell us where you'll be 8 Q. Okay. It was, and that was
- 9 looking for the original signature page 9 attached as an order to the complaint in
10 since it was not in the student's file when 10 this case. So a resolution meeting --
11 it was provided to your counsel? 11 MS. TATUM: Objection, Mr. Hearing
‘12. A. I will check with the school .12 Officer. He's mischaracterizing the due
13 teacher, the case manager. 13 process hearing. The school system's
14 HEARING OFFICER: The case 14 position was that the parent would not
15 manager? 15 attend a resolution meeting, not that a
16 THE WITNESS: Yes, sir. 16 resolution meeting failed to be held.
17 Q. Sois it the case manager that 17 HEARING OFFICER: Okay. So noted.
18 has possession of the original IEP's? 18 MR.CASSADY: And the position of |
19 A. That's who normally keeps 19 the student is in the record.
20 original IEP's. 20 Q. Now, where is the notice to
‘21 Q. And what kind of file does she 21 Ms. of this IEP meeting? There'sa
22 keep that in? 22 -- first, do you agree with me that a |
(23 A. A folder that we have for our 23 resolution meeting and an IEP meeting are |
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two different things? 1
A. Yes. | 2
Q. Okay. Where is the notice to her | 3
of this IEP meeting? 4
A. Because it was a resolution 5
meeting, we had appropriate IEP team 6
| 7

8

membership. And that would have been sent |
to her counsel -- :

Q. Okay. Now -- 9
A. -- to notify her of the meeting 10
that we were having. ‘11
Q. So you did not send the meeting /12
-- you did not send the notice to 13
Ms. 14
A. You may have received it. 15
Q. Did you send the notice to i 16
Ms. 17
A. I don't -- I would not have sent 18
one. I did not. I did not send one to 19
her. 20
Q. Has the school district ever, (21
ever that you can tell from your file 22
mailed a notice of an -- mailed by U.S. 23

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mail a notice of an IEP meeting to 1
Ms. 2
A. I wouldn't be able to tell you. 3
Q. If you know, has the school 4
district ever E-mailed an IEP meeting 5
notice to Ms. —~6
A. I wouldn't know. 7
Q. If you would turn, please, to the | 8

transportation page which is document 9
seventy-nine. 10
A. Seven seventy-nine? 11
Q. I'msorry. Seven seventy-nine. (12
A. Okay. 13
Q. Again, this one says for 114
transportation, bus for special needs, 15
adult support. | 16
A. My seven seventy-nine doesn't 17
indicate that, sir. 18
Q. Seven seventy-seven. 19
A. Seventy. Okay. ‘20
Q. And, again, the IEP says that 21
transportation will be, quote, a bus for 22
special needs, end quote, that there will 23

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be adult support, preferential seating,
behavioral intervention plan, restraint

system, safety vest and that bus driver and |
support personnel are aware of the

student's behavioral and/or medical
concerns and that [J must be accompanied
by a paraprofessional or other staff

member. That's what this IEP says on dates
without signatures of September 14,2018;
is that correct?

A. Yes.

Q. And, again, those were not
services that he was going to be provided
because he wasn't going tobe comingtoa
school facility under this IEP, was he? |

A. We didn't know what he was going |
to have because we were waiting for
cooperation from the parent, for the BCBA
to work with him to know. It could have
been a day. It could have been two days
that she decided that we should transition.

We don't know the time. But he would have
had transportation in place for him ready

|
|

Page 522
to receive him with support in place as it
indicates when the BCBA gave us indication
that we should start to transition him back
to school.

Q. When does this IEP state that
these transportation services will
commence?

A. It's readily here available for
the student.

Q. When --

A. It doesn't have a specific date,
but it's for the 2018/19 school year.

Q. Now, if you would please turn to
the language arts page on document seven
seven eight. And just please let me know
when you're there.

A. Seven seventy-eight?

Q. Yes, ma'am.

A. Okay.

Q. Do you agree the measurable
annual goal then says, quote, iM will
develop a sequence of events using written
or illustrated steps provided. And then it

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goes on and says that he will master this ' 1 blocked off.
goal and he'll achieve this by May 22, | 2 A. Okay. Yes.
2018? 3  Q. And do you see where it's checked
A. That's correct. 4 provision of free and appropriate education
5

OOrnAINNBPWN —

Q. Allright. | 5 in the top box?
A. Yes. But I want to say, also, 6 A. Isee the decision of specific

that throughout this IEP, that's the only ! 7 action proposal refused. Is that what

record that has that particular date on it. | 8 you're asking?

The rest of them does say -- they do say 9 MR. CASSADY: May I approach?
10 2019. So for that particular one that we 10 HEARING OFFICER: Sure.
11 keep going back to, it says May 22,2018. 11  Q. Do you see where that the notice
12 But for the remainder of this IEP it's 12 of proposal refusal to take action has
(13 2019. 13 checked provision of a free and appropriate
,14 QQ. And, again, so the people that -- 14 public education?
‘15 there are no signatures but it indicates 15 A. Yes.
16 that Mary Barnes, Tina Perry, yourself, 16 Q. That box is checked?
17 Celeste Welch and Paula Strong were 17 A. Yes.
18 present. And, again, not one of them (18 Q. And it says this action will be
19 caught this typographical error, right? 19 taken immediately without delay?
20 A. Wedid not. 20 A. Yes.
21 Q.. Thank you. 21 Q. And that was signed by Tina
22 A. Uh-huh. 22 Perry?
23 Q. And did you -- have -- did you 23. A. Where does it say immediately

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1 read the IEP each time yourself? ]_ without delay?

2 A. I'msure we read it and it was an 2 Q. It was the --

3 oversight on our part that we didn't 3. A. Oh,right here. Will take

4 correct that date for the current IEP. _ 4 proposed action immediately. So whatever
5 Q. Now, would youturntodocument § 5 we proposed.

6 seven eighty-three. Do you see where this | 6 Q. Well, what this means is that

7 7

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9

is a notice of proposal and refusal to take what the IEP team decided on September 14,

action? 8 2018 regarding a free and appropriate
A. Yes. | 9 public education is that -- that action is
10 Q. And do you see where it's checked 10 going to be taken immediately, right?
11 and it says LEA response to due process dloA. It says the specific action
12 hearing request? | 12 that's proposed or refused, whatever that
13. A. Yes. _13 was indicated there.
14 Q. And do you see where it says, 14 Q. It would be taken immediately,
15 quote, The local education agency will take i 15 right?
16 the proposed action immediately without ‘16 =A. Yes.
17 undue delay? ‘17 Q. And an IEP team meeting was held
18 A. Where are you? 18 at the resolution meeting that day,
19 Q. Inthe middle of it where it's | 19 correct?
,20 checked the local education agency will ,20 A. It was aresolution meeting with
21 take the proposed action immediately 21 IEP team membership so that we could
22 without undue delay. Do you see that? 22 discuss the items that were going to be

23 HEARING OFFICER: Mid page. It's 23 discussed.

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Q. Was this an IEP meeting or not?

A. This was a resolution meeting
with IEP team membership present.

MR. CASSADY: Judge --

Q. The question, yes or no, is this.
Was an IEP meeting held on September 14,
2018?

A. It was a resolution meeting.
HEARING OFFICER: Yes or no, and
then you can explain. |

A. Yes. An JEP meeting that was a
resolution meeting in itself. And that's |
what's up here.

Q. And is this an IEP that was
agreed upon by the -- well, not agreed upon
but that the team decided would be his free.
and appropriate public education as of
September 14? |

A. Yes. This right here. Whatever
this is. Yes.

Q. Well, it needs to be clear for
the record.

A. Uh-huh.

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Q. And I'll mark it.
HEARING OFFICER: Number 27?
MR. CASSADY: 28, Your Honor. And
this is the IEP dated September 14, 2018.
And that now I've marked this as 28, I'd
move to admit it. .
HEARING OFFICER: Any objection? »
MS. TATUM: So long as it's a
clean copy, I have no objection.
HEARING OFFICER: It's one that :
doesn't have the blocks in it. |
MR. CASSADY: It does not.
HEARING OFFICER: Okay. No
objection being made, Petitioner's Exhibit
Number 28 is admitted.
Q. So now that it's marked as -- may
I hand it to you?
MR. CASSADY: May I approach?
HEARING OFFICER: Yes.
Q. Would you like your copy back?

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21 After you've confirmed for yourself that
22 that is a -- the document, that that is the
23 IEP that the team wrote on September 14,

(21
22
23

Page 529
2018.
A. We didn't write this IEP. This
IEP, the original IEP was written in the
spring and amendments were made to this
IEP. So an amendment was made to this IEP
on September 4th, 2018.
Q. Is that document in your hand --
MR. CASSADY: May I approach?
A. Uh-huh.
HEARING OFFICER: Yes.
Q. Is this document in your hand
which is Plaintiff's Exhibit 28, is that an
IEP for this student that was decided upon

14 by the IEP team on September 14, 2018?

A. This is not an IEP that was
decided on by the team on September the
14th. This was an amendment to the
original IEP that was written for this
student prior to this date.

Q. Is the IEP that was in effect
after August 14, 2018 in your hands?

HEARING OFFICER: September.

Q. September. Yes. Is this -- is

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this document in your hands -- may I see
it?

A. Yes.

Q. This document which is
Plaintiff's 28, do you agree that it says
individualized education Program?

HEARING OFFICER: If you want to
know what his IEP was on that date, would |
it be that document?

THE WITNESS: Yes. But we didn't |
write that.

MR. CASSADY: That's what I was
about to ask.

Q. And I want to follow up on what
you're saying about we didn't write it on
August 14,2018. Is it accurate to say as
far as you know as the special education
coordinator that the IEP's for -- this is
an IEP for August 7, 2018 through May 22,
2019, right?

A. Yes.

Q. And it's been amended many times
at this point, true?

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1 A. Yes. __ 1 things that were -- some of the things that
2 Q. And is it fair to say that the | 2 were stated in the order.

3 only thing that has been amended is that 3 Q. Allright. Now, read what it is,

4 whenever he's had a behavioral episode, 4 please, into the record that you believe

5 there's been an indication of that in the i 5 indicate that Judge Cole's order and

6 IEP as an amendment and then he becomes _—_6_ judgment of April 5, 2018 was in the room

7 increasingly homebound. Is that accurate 7 with the IEP team on September 14 --
8 to describe the IEP's since Judge Cole's 8 A. It was referenced. Whether or
9 order of April 5, 2018? . 9 not J had a physical copy --
10 A. That's your interpretation. Mine ! 10 Q. I'msorry. I apologize.
11 would be that we looked at each situation Wi HEARING OFFICER: Let him finish.

12 and called a meeting based on whatever the 12 Q. Ihadn't finished my question.
13 situation may have been. But his behavior ! 13 I'm not trying to be rude by interrupting
14 prevented academics to go forward 14 you.

15 effectively with him because his behavior | 15 A. That's okay.

16 escalated. And I do know in the IEP's his | 16 Q. Ill back up.

17 behaviors became even more severe andhe 17 A. Go ahead.

18 became more violent. 18 Q. I don't want to get too close to |
19 Q. And the question, though, is -- ‘19 you.
20 well, first let me start with this one. '20 A. We're all professionals. Come

21 Judge Cole's order of April 55,2018 was not 21 on.

22 in the room when this IEP was established 22 Q. Now, would you read -- could you

23 either, was it? '23 give us the page number, please, at the

. Page 532 Page 534

1 A. This was a new due process. 1 bottom, the Bates stamp number, if there is
2 September 14 would have beenanewone. . 2 one, and read into the record why you
3 Q. Yes,ma'am. And my question 3 believe Judge Cole's order and judgment was |
4 is -- my question is this. Was Judge _ 4 in the room with the IEP team on September
5 Cole's order and judgment of April5,2018 © 5 14,2018?
6 in the room with this IEP team on September. 6 A. I cannot say that it was in the
7 14,2018? Yes or no? ' 7 room, but it was referenced. Based on what
8 A. Idon't know. I don't remember. , 8 the amendment states, it references some of
9 QQ. Do you have a -- do you have a 9 the things that were stated in the

10 specific or general recollection of it '10 original order. So I will read those

11 being there? 11 things, but I cannot say today that I knew

12 A. Idonot. 12 that I had it. It looks like we did,

13, Q. Is it referenced anywhere in any 13 but --

14 amendment written on this date of 9/14? 14. Q. You can't --

15 Does it anywhere say anything about Judge 15 A. It's beena long time. But we

16 Cole's order and judgment? | 16 had to have something to be this detailed

17. A. Based on the amendment that was 17 with our amendment. But I will share with

18 made, that they had a copy? (18 you -- if you want, I'll share with you

19 Q. On this day. _19 what I have.

20 <A. Onthis day, September 14th, ‘20. Q. May I ask this first?

21 2018. Just referencing number seven ‘21 A. Yes.

22 sixty-nine, we would have had a copy 22 Q. Was counsel present with you?

23 because it looks like we reviewed the 23, AW

No.

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1 Q. Okay. Was counsel on the phone 1 to work together to determine appropriate
2 with you? 2 stories, textbooks that may be most
3. A. No. _ 3 effective with J Three, based on
| 4 Q. Allright. With the IEP team? 4 [EM interest and academic needs, books
5 A. No. _ 5 can be uploaded to a tablet for J
6 Q. Now-- | 6 Speech and language pathologist will
7 MS. TATUM: Wait. She was _ 7 determine appropriate expressive
_ 8 finishing his question and he interrupted ~ 8 communication apps to use with J We
- 9 her. 9 will continue utilizing the Signing Times
10 HEARING OFFICER: She said no. 10 program with J In addition, he will
1 MS. TATUM: Explaining to him how 11 continue to have access to a sign language
12 that mediation agreement was implemented at: 12 interpreter throughout his instructional
13 that IEP meeting. 13 day. Again, that's two and three in the
14 HEARING OFFICER: Well, I think 14 order as well. Data collection is
15 he's asking her -- he said before you 15 recommended to determine his progress.
16 answer that, I have a couple questions. 16 This occurs each nine weeks of a grading
17 MS. TATUM: I got you. I just 17 period and will continue upon J
18 wanted to make sure she could answer. 18 return.

19 Q. The question is would you read to 19 Q. Thank you. Where is -- where are
20 Judge Cole from the -- from the September 20 the minutes to that meeting?

21 14,2018 IEP amendment the language that 21 A. The minutes?

22 suggests to you that his order and judgment 22 Q. The minutes.

23 of April 5, 2018 might have been there? 23 A. Those are optional. They may

Page 536. Page 538 '

1 A. Page seven sixty-nine, September : | not--
2 14th, 2018, resolution meeting and IEP 2 HEARING OFFICER: Do you know if
3 meeting. The parent failed to accept the 3 they took minutes?
4 September 14th, 2018 resolution meeting. 4 THE WITNESS: I do not remember.
5 Two resolution notices were sent to the 5 HEARING OFFICER: Okay.
6 parent. In addition, the IEP team reviewed | 6 MS. TATUM: It's page seven
7 the assistive technology evaluation and _ 7 eighty-four, the minutes. It's in the
8 considered the recommendations. That would 8 white binder as well under Tab 17.
9 have been number ten in the order for an ! 9 Q. Okay. Now --
10 assistive technology evaluation. And it 10 THE WITNESS: It's not in that.
11 resulted in the following. | 11 Seven eighty-four?
12 assistive technology evaluation resulted in /12 HEARING OFFICER: Tab seventeen in
13 the following recommendations. One, that "13. white you said.
14 the application to AIDB, or Alabama 14 MS. TATUM: It's in Respondent's
15 Institute for Deaf and Blind, for summer _15 Exhibit 17. And the Bates stamp is seven
16 camp 2018. Summer camp 2018, that would be | 16 eighty-four, seven eighty-five and seven
17 number eight in the order. The summer of 17 eighty-six.
18 2018. And services for the 2018/19 school 18 Q. Soare you ready to proceed?
19 year cannot -- cannot be confirmed due to 19 A. Yes.
20 parent's failure to attend the meeting. 20 HEARING OFFICER: She is.
21 Sign language interpreter, which is number ‘21 =A. Yes.
22 two and three, to have a sign language 22 Q. Did you ever call the Alabama
23 interpreter in place and classroom teacher 23 School for the Deaf before this date and

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1 ask them if the applications had been made |
2 by
3 A. No. Inthe agreement the mom was
4 to send us copies. And we have those.
5 That should be part of the records of
6 application she completed.

7 QQ. Did the mom send them to you?
8 A. Yes. Uh-huh. Yes.
9 Q. And did you notify her of any |

10 deficiency in that application?
11 =A. IT wouldn't know what the
12 deficiency would be because they were sent —
13 to AIDB. They would have contacted her for ;

14 that.
15 Q. Now, the next exhibit is --

16 HEARING OFFICER: 29. |
17. Q. --29. And these are the minutes

18 from -- without any additional markings
19 from the September 14, 2018 resolution
20 meeting. First, do you know these are the
21 meeting minutes? And these have the
(22 attendees, right?

t
|
i

(23° ~AL Yes. |
Page 540
1 Q. Would you read who the attendees
_ 2 are?
3. A. Ms. Barnes. I can't read the
4 first name because I don't have my glasses.
5 Mary Barnes. Mary Barnes.
6 Q. Okay.
7 A. Mary Barnes, general ed teacher;

- 8 Celeste Welch, speech language pathologist; !

9 Paula Strong, sign language interpreter;
10 Tina Perry, special education teacher;
11 Temeyra McElrath.
12. Q. Okay. And do you remember that
13 the assistive technology evaluation
14 recommended that there were some free
15 applications, free apps that J might

16 use?

17 A. Yes.

18 Q. Okay.

19 A. Wehad to go back to the AT eval

20 and see exactly what those are. Would you
21 like to do that?

22 Q. Well, there was no recommendation
23 by the AT, the assistive technology

Page 541 -
1 evaluation professional, that the school
2 spend even a dollar on anything for J
3 was there?
4 A. I'd have to go back to the
5 evaluation.

6 Q. If you don't mind.

7 A. Okay.

8 MS. TATUM: Do you need a page

9 number?
10 THE WITNESS: Please.
11 MS. TATUM: Six ninety-two. No.
12 No. I'm sorry. Not six ninety-two. Six
13 ninety-four. |
14 MR. CASSADY: I'll withdraw that

15 question unless someone objects to me
16 withdrawing it.

(17 HEARING OFFICER: Okay.
18 (Whereupon, Ms.
19 entered the hearing room.)
20 MR. CASSADY: Your Honor, could
21 the record reflect that Ms. J has

22 arrived from work and she's present?
23 HEARING OFFICER: So reflected.

Page 542
Q. Would you please look at the IEP
-- and first could you tell us the next IEP
meeting would have been on December 30,
2018; is that accurate?
A. No.
Q. When was the next IEP meeting?
A. September 28th.
Q. And would you tell us who was
present at the September 28th, 2018 IEP
meeting?
A. Ms. Perry, the special ed
teacher. This has to be a mistake. She's
| 13 not the general ed. Ms. -- of course, I
i 14 was there, Temeyra McElrath. Ms. Jackson,
15 principal. Sean Kreauter, assistant
| 16 principal.
17 HEARING OFFICER: Did we admit 29?
| 18 Did you have any objection, Ms. Tatum?
, 19 MS. TATUM: Is that the September
‘20 14th IEP? No objection.
‘21 HEARING OFFICER: No objection
22 being made, Plaintiff's Exhibit Number 29
23 is admitted. I want to make it clear for

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39 (Pages 539 - 542)

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1 the record. | HEARING OFFICER: Allright. So |
2 MS.TATUM: Mr. Hearing Officer, | 2 wedo have 28. You're right. I think the |

_ 3 at some point can we give this witness a ! 3 9/14 may have been 28. .
_ 4 break? 4 MR. CASSADY: It is.
5 HEARING OFFICER: Sure. We're = 5 HEARING OFFICER: And we have not
6 near the lunch hour. Would this bea good | 6 done the 9/28 IEP yet, right? |
7 time to take lunch? 7 MR. CASSADY: Right.
8 MR. CASSADY: Whatever the judge 8 HEARING OFFICER: Wasn't there a |
- 9 wants. , 9 September 28th -- I mean December 28th?
10 HEARING OFFICER: Okay. It's-- 10 MS. TATUM: There isaSeptember |
11 let's be back at ten after one. /11 28th one as well, Your Honor.
12 MR. CASSADY: Would you tell us | 12. Q. Would you please pull out the
13 the document number of that? , 13 September 28 IEP, please?
14 HEARING OFFICER: The document 14 A. Yes. :
15 you're looking at? 5 MS. TATUM: I'm sorry. I should
| 16 MS. TATUM: Seven ninety-two. 116 be helping you. What number are you
17 THE WITNESS: Yes. 17 looking for?
18 MR. CASSADY: Thank you. 18 THE WITNESS: It's 28. You're
‘19 (Lunch recess) .19 fine.
20 HEARING OFFICER: Okay. We'll go 20 Q. Okay. And who attended that IEP
21 back on the record and continue with i21 meeting?
22 Mr. Cassady. 22. A. Tina Perry, Temeyra McElrath,
23 MR. CASSADY: Yes, sir. _23 Ayena Jackson and Sean Kreauter. |
Page 544 Page 546
Q. We were looking at the IEP | 1 Q. And our binder doesn't have a

1
2 that -- I'm sorry -- September 28th, 2018. | 2 copy of 28. May I see it?
3 MR.CASSADY: Your Honor, first, {| 3 MS. TATUM: Here. I've got one |
4 there was a question regarding exhibits _ 4 for you.
5 between my assistant, my paralegal and the 5 MR. CASSADY: When was this filed? |
- 6 court reporter. Was that resolved? 6 MS. TATUM: When was it filed? |
7 7
8 8

COURT REPORTER: We're missing |

MR.CASSADY: Yeah. When was it |
Number 27. There's not a 27. presented to the judge for the first time?

9 HEARING OFFICER: There's not a | 9 MS. TATUM: It's not filed. It's

10 27. 10 just in the front of the notebook. I
11 MS. TATUM: What is 27? _11 haven't even put on a case yet.
12 HEARING OFFICER: There isn't one. 12 MR. CASSADY: Understood. So
13 MR. CASSADY: I'm sorry. 13 Exhibit 28 is being amended -- this is
14 HEARING OFFICER: No problem. 14 amended in today? .
(15 Q. Okay. Is the September 2018 -- 15 MS. TATUM: No. [thought she was |
16 September 14, 2018 IEP, that is an exhibit, 16 reading. She was reading it and you said
17 is it not? I believe it is. |17 you don't have a copy and I'm giving youa_
(18 HEARING OFFICER: Let's see. The | 18 copy. It wasn't in your book yesterday. |
19 minutes, 29. But the IEP itself has not 19 MR. CASSADY: I understand. Okay. :
20 been admitted, right? 20 MS. TATUM: That's addition to

| 21 MR. CASSADY: Okay. Thank you. 21 notebook. And I don't have a Tab 28, but
22 HEARING OFFICER: Is that correct? | 22 I'll try to bring one the next time. :
23 MR. CASSADY: I believe it was 28. |23  Q. So how did this -- we just went |

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| '
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| 1 through the September 14,2018 IEP. Now | on September 28th we had a resolution
2 there's another meeting on September the 2 meeting.
3 28th -- 3. Q. Okay. So this was while the
4 A. Yes. 4 second due process hearing was pending that

5 Q.. -- of 2018. And what is the -- 5 was dismissed by the judge, correct?
6 what is this -- how does this IEP change 6 A. [don't -- I don't know.

_ 7 the free and appropriate education being 7  Q. So would you tell me the page

8

8 provided to the child? number where the only change in the IEP

| 9 A. This was a resolution meeting. 9 occurred from the 9/14/2018 IEP to this
10 It says waited for arrival of the parent 10 9/28/2018 IEP?
11 and attorney and neither showed up. We 11 A. The amendment that was made is
| 12 have records for -- 12 indicated on seven ninety-four. It says
‘13. Q. Does it say that in the 13 September the 28th, 2018 resolution
14 individual education plan? 14 meeting.
15 A. The minutes. 15. Q. Okay. And that's -- that is all
16 Q. Okay. If you don't mind, I'd /16 that changed was to state in the IEP a
17 like to focus on the IEP first. : 17 resolution meeting change?
18 A. Okay. ‘18 A. I'd have to read the minutes to
19 Q. Allright. So would you -- the _19 see if anything else was discussed for any
,20 question was how did this IEP, the first -- {20 changes. I wouldn't know.
21 let me make sure. Is this an IEP? | 2] MR. CASSADY: I move to admit 27,
22 A. This is an IEP. 22 Your Honor. No marks on it. It's just the
23° Q. Was it -- was it signed by the | 23 document.
. Page 548 Page 550
1 attending members on page eight 0 eight, i HEARING OFFICER: Any objection? ©

1
2 MS. TATUM: No objection.
3. A. Yes. Eight 0 eight. 3 HEARING OFFICER: No objection

4 Q. And the interpreter isn't at this 4 being made, Petitioner's Exhibit Number 27
5 IEP meeting; is that correct? | 5 is admitted into evidence.
6 <A. Correct. 6 MR. CASSADY: So the minutes which
7 | 7 :
8 8
9

~ 2 correct?

Q. And the BCBA never went to any of | I guess now would be 29, Your Honor, the
the IEP meetings; is that correct? next exhibit, 29?

A. I don't recall her being in any. 9 HEARING OFFICER: Yes.
10 Q. Allright. And so how did this 10 Q. We'll mark the minutes for the
‘11 IEP -- "11 September 28th, 2018 meeting. And do you _
12 MR. CASSADY: And, Your Honor, 12 have those before you? It's document eight
13 what's the missing exhibit? I'll just make 13 eleven.
14 this -- 14 A. Yes.
15 HEARING OFFICER: 27. 15 Q. And would you read the first
16 MR. CASSADY: 27. /16 sentence of the second paragraph under
‘17. Q. Okay. I've marked this as 27. 17 discussion?
_18 How, if you would please tell us, did this (18 A. Starting with we would like? Is
19 September 28, 2018 IEP change the free and 19 that what you want?
20 appropriate education being provided to /20 Q. Yes.
2) Ei 21. A. Okay. We would like todiscussa
22. A. The only amendment that was made ,22 communication system that would improve |
23 to the IEP itself is that it indicated that | 23 communication from the parent to the school :
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'

. Page 551 Page 553 |
1 system. We have a need for the parent to 1 HEARING OFFICER: Sustained.
_ 2 respond to all communication, parenthesis, : 2 MR. CASSADY: Withdrawn.
3 example, phone calls, text, letters, close 3 Q. Now, let's go back to the first
_ 4 parenthesis, from the school and special 4 paragraph. It says, We waited for the
5 education department in a timely manner. 5 arrival of the parent and the attorney and
6 Would you like for me to continue? _ 6 neither showed up. We have the records for
7 Q. Let's start there. With this _ 7 TH EM to review. What records were
8 issue about improving the communication 8 those?
_ 9 system with the parent, in that effort, ~ 9 A. ITdon't know.
10 have you or anyone else for the district 10  Q. Did you know that we had
11 ever asked the parent for her E-mail 11 requested all records be E-mailed to us
12 address? (12 before the resolution meeting?
13. A. [have not. 13. A. That would have gone through my
‘14 Q. Have you ever heard of anyone 14 attorney.
15 asking her for an E-mail address? (15 Q.. So you didn't know that?
(16 MS. TATUM: Objection, Mr. Hearing | 16 A. That would have gone through my
17 Officer. This was asked and answered 17 attorney, your request. No. I'm just
'18 yesterday. | 18 saying your request would have gone through
19 HEARING OFFICER: Sustained. 19 my attorney.
20  Q. Her E-mail address is 20 Q. Are you aware that the
21  @ email -- I'm 21 Administrative Code for Alabama provides
.22 sorry. @ymail.com. And here's another 22 that the parents are entitled to access to
23 one. 23 the education -- the educational records of
Page 552 | Page 554
1 A. Would you like for me to write _ 1 the student before the resolution meeting?
| 2 these down? 2. A. She has access. She's welcome to
3  Q. Well, 1 want to get them in the : 3 come to my office at any time and review

4 record first. 4 those records. So I can give her access to
5 A. Oh, okay. 5 the records.
6 QQ. The other one is 6 QQ. And so does that mean she could

7 i 7 go to your office today or Monday and
En -P.com. And I 8 review those records?
9

9 believe that stands for general manager. A. She has to give me notice that

10 MS. TATUM: Mr. Cassady, can you : 10 she wants to have access, and I will give
11 also E-mail those to me? '11 her that access.
12 MR. CASSADY: Yes. And I would 12 QQ. And what would be reasonable
13 have if you'd ever asked for them before. 13 advance notice to you?
14 And if you have asked for them before, 14. A. We'd have to look at the Code and
15 would you please tell me what E-mail date '15 see. Does it say forty-five days? I'd
16 that was and I'll -- 16 have to look. I do know that it's not just
17 MS. TATUM: I don't have a clue. 17 spur of the moment.
18 I'd have to look. (18 Q. Right. So -- but she's expected
19 MR. CASSADY: Okay. 19 to be at an IEP meeting the next day
20 Q. Now, you communicate with people .20 sometimes, right? That's happened in this
21 every day by E-mail, don't you? 21 case, true?
22 MS. TATUM: Objection. Asked and (22 A. Yes.
23 answered yesterday. 23 = Q. Okay.

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A. Not the next day. Well, days

| past. It was the 24th and I think the

meeting was on the 27th.

Q. Now, do you know what records for
GE GN were being talked about in that
entry?
A. Idonot. Not at this time.

: 8 Q. Do you know if those records had
_ 9 been provided before that date to
10 RM in any way?
‘11. A. I don't remember.
12. Q. Now--and it says paragraph two,
/ 13 We would like to discuss the communication ;

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14 system that will improve communication from 14

15 the parent to the school system. We have a
| 16 need for the parent to respond to all
/17 communication. Example, phone calls, text
18 and letters. It doesn't mention E-mails,
19 does it?
20 A. It does not.
-21 Q. From the school and special
22 education department in a timely manner.
23 Now, is it your testimony that -- do you
Page 556 |
1 know, is it your testimony that, for
2 instance, she refused to respond to E-mails
3 asking her -- text messages asking her to
_ 4 come to the school?
5 A. I wouldn't know.
6 Q._ Is it your testimony that she
7 refused to provide a location where the bus
8 could take jj after school?
9 A. Iwas never provided a location
10 when we made the changes to the IEP.
11 Q. Have you asked the members of the
'12 district who have been working on his IEP's
13 or working with {ij if any of them texted
14 asking for a location for him to be --
15 because that's in the IEP, right?
16 A. I think there are some text
17 messages somewhere in the documentation.
18 I'd have to look and see what the content
/19 is. But I do know that for the short --
20 for the nine thirty as we indicated we
,21 needed a location, I did personally talk to
22 transportation to set up bus transportation
23 for him to be dropped off after his time at

9
10
‘Ti

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school.
Q. And that's where we're talking |
about the first refusal of her to provide
an address so that he could be taken home
at nine thirty in the morning after an hour
or so at school, right?
A. I'd have to look and see and make |
sure that's what you're saying.
Q. Is that your recollection?
A. I'd have to look and see. But
according to an IEP, we did have one IEP
meeting that stated we were waiting on Mom |
to give us a location.
Q. For him to be returned to --

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15 <A. Return home, yes.
16 Q. Right. At nine thirty in the
17 morning, right?
18 A. Yes. But we also have a website.
19 Mom is always welcome to E-mail me as well
20 to give me that E-mail address.
21 Q. It doesn't have your E-mail
22 address on there, does it?
23 A. Onour website? :
Page 558 |
1 Q. Yes.
2 A. Yes. You can actually E-mail me
3 through our Elmore County website.
| 4 Q. Thank you.
5 A. Uh-huh.
: 6 Q. Now, the -- is it -- would it
7 surprise you that the first time she
i 8 received a text from a member of this
9 district asking her for an address that he

10 could be taken home, that she immediately
11 responded within an hour or two and gave an

/ 12 address where her sister lived?

(13. A. I wouldn't know.
(14 Q. Okay.
15 A. It wasn'ta text to me. Sol

16 don't know.

(17. Q. Noone told you about that text?
‘18 A. Idon't remember.
19 Q. I'msaying do you -- is this a

20 surprise to you that if she texted back a

;21 district -- when someone from the district

22 said we need an address to return

{23 home from school, that she did respond that

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Page 559 Page 561 -
Q. And so is that the only
conversation you can remember or the only

1 same day? ]

2 <A. Inever received an address. 2

| 3. Q. So that would have been the 3 time you ever remember calling her?

_ 4 obligation of the district employee to 4 A. Idon't remember me ever calling
5 provide you with that response by her, 5 before. I could have very well.

6 right? 6 Q. And the reason I'm asking this --
7 <A. Ifabus was needed. 7 A. No,I didn't. I tried to call

8 Q. Okay. Now, you guys were asking 8 her the day that J arrived at Millbrook

_ 9 for an address, right? _ 9 Middle when -- was it August 30th I tried
(10 <A. Uh-huh. : 10 to call her as well because she was not
| 11 Q._ Ifyou would say yes. _L1 answering the phone? And so I tried to
(12 A. Yes. 12 call her that day, too. I want to say it
(13. Q. Okay. Now, was the school 13 was -- was it the 30th? I'll look back and !
14 district willing to take ij to 14 see. It would have been a time that I |
15 Autaugaville? 15 tried to call her to -- yes. The 30th.
16 A. No,not out of the district. 16 MR.CASSADY: While she’s looking
17) Q. Why not? 17 at that, Plaintiff's Exhibit 29, the !
| 18 A. Because we cannot provide 18 minutes from this meeting with no markings .
19 transportation outside of our district. /19 on it, we move to admit it.
20 Q. So if the only -- and where does 20 COURT REPORTER: We already have a
21 that -- who says that? Who says that? (21 «29.
22 A. IJactually called the State 22 HEARING OFFICER: 30.
23 Department to confirm we cannot transport 23 _MR.CASSADY: 30. 30 would be the
. Page 560 ' Page 562.
_ 1 students outside the district. ' 1 meeting minutes from September 28.
2  Q. And who did you speak with? 2  Q. Do you agree with me that it has
| 3 A. I'd have to go back and just look | 3 an incorrect date of 10/28? I'm sorry.
4 and see. | 4 These are the meeting minutes from the
| 5 Q. Is there someone there you call i 5 September 28, 2018 meeting, but it has a
6 ona regular basis? _ 6 date on the minutes of October 28, 2018. I
7 A. No. | 7 assume that is a typo. Is that accurate?
8 Q. Allright. _ 8 A. Let me look at that.
9 A. Because it's transportation. 9 Q. Let me hand it to you. Is
.10 QQ. Now, have you ever called 10 that -- do you see the date up there?
11 Ms. yourself on the phone? ‘A. Ido.
‘12 A. Ihave. ‘12 Q. Okay. And this was for the
13. Q. Okay. Have you ever spoken with 13 September 28 meeting?
14 her on the phone? (14. A. Yes. Uh-huh.
15 A. I don't know if I ever got an 15 Q.  Sois it true that for
'16 answer, but I most recently called her in 16 Plaintiff's Exhibit 30, the date should be
.17 January and left her a message. She -17 September 28, 2018?
18 actually called on one day, and I called ‘18 A. Correct.
.19 her back. And I never heard back from her. ‘19 Q. Not October 28, 2018? |
20 I left her a message. 20 HEARING OFFICER: Any objection to to
-21  Q. You left her a message on her 21 Petitioner's Exhibit Number 30?
22 phone? 22 MS. TATUM: No objection.
23. A. Yes. Uh-huh. 23 HEARING OFFICER: No objection

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| 1 being made, Petitioner's Exhibit 30 is 1 Q. Right. And there has been one |
_ 2 admitted into evidence. 2 since then, right?
' 3. Q. On page eight twelve at the very 3 HEARING OFFICER: For this case |
_ 4 bottom, it says meeting adjourned ateleven 4 you had a resolution meeting. |

5 fifteen on 9/28/18. So we can know that 5 THE WITNESS: Yes. Uh-huh. We ©
6 that was indeed an error. Now, were you 6 did. I don't have that date. But yes.

_ 7 ever advised in -- at any time -- did you 7 Q. Let's just go ahead and get to
| 8 ever learn at any time that Judge Cole had 8 the December JEP which is Exhibit 31.
_ 9 ordered in this case that if you folks were 9 Could you tell us how his -- the provision
'10 going to ask Ms. MM to sign forms, that 10 of special -- how this IEP changed in any
_11 they be provided to me first? Were you 11 way from the September 28, 2018 IEP to the |

12 aware of that? 12 December 13, 2018 IEP?
13. A. Is that in-- (13 MS. TATUM: Ms. McElrath, it's in

14 Q. I'm just asking if you were aware 14 the white notebook as Respondent's Exhibit
15 of it. 15 22.
| 16 A. When we had to give all forms to 16 Q. Ibelieve that you would be
‘17 you? 17 looking at the amendment, December 13,
‘18 Q. Let me get a straight question in 18 2018.
19 the record. 19 A. Yes. Uh-huh. :
(20 A. Okay. 20 Q. Allright. It says that the IEP
21 Q. Were you ever aware let's say |21 team met to review I recent
22 within the last sixty days that this judge 22 neuropsychological evaluation completed at —

23 had ordered in this case that if the |23 Elmore County's request. That's the first
. Page $64 Page 566

1 district was going to ask Ms. J to
2 sign forms, that they be provided to me
3 first? Q. And the district requested that

A. Is that in the -- in writing? | Ms. MM take her son to Birmingham to

1 sentence, right?
2
3
4 4
. 5 Q. I'masking if you were ever aware _ 5 see aneuropsychologist. Do you know that? »
6 6
7 7
8

A. Yes.

i
!
i

of that? A. Yes. I made the appointment.
. Q. Did Ms. {MM take her son to
Birmingham to the appointment?

A. Imean,I -- I don't remember
8 that being something that was in print. |

9 But if you have it, I mean -- but we did -- , 9 A. She did not make me aware that
10 but what we did was give it to our ‘10 she was going to, but she showed up on the
11 attorney. Anything we sent to her was also | 11 day of without notification to our system
12 sent to our attorney. So we did not -- '12 at all that she was going to take him.
13 when we mailed to Ms. MM any requests 13  Q. Did --
14 for records, you should have that on 14. A. Soyes. She did take him.
15 record. And other than that -- so you ‘15 Q. Did the -- is the district
16 should have forms. -16 willing to compensate her financially for
17 Q. So then the forms -- well, the _17 missing work and for doing these types of

18 last resolution meeting was within the past : 18 things and pay her mileage for these
19 thirty days and an IEP meeting was held :19 things?

'20 again. Is that accurate? .20 A. We will pay her mileage to take
21 A. What date are you referring to? 21 him to evaluation and back.
22 We had one on September 14th andoneon 22 Q. Did you send her a mileage check?
23 September 28th. ‘23 A. She didn't submit a request for

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! 1 reimbursement.
_ 2  Q. Did you give one to your attorney
3 to send to us?
_ 4 A. I don't remember everything that
5 was in the packet. But even now I'll
_ 6 reimburse her. That's not a problem for
7 her trip there and back.
8 Q. And her brother was called to the
_ 9 school and y'all told him you'd pay him
10 mileage, too?
‘11. A. If that was told to him and he
12 needs to be reimbursed, that's not a
:13 problem.
(14  Q. Well, so -- and what rate does
15 the school system pay for mileage?

16 A. [believe it's point five four

17 eight a mile.

18 Q.. Is it the federal rate?

19 A. Idon't know. That's just what's

20 in our policy. So I don't know.

21 Q. And is that -- now, the -- do you
22 know what her brother does for a living?
23. A. Ido not.

| |
2

23

Page 568 |

1 Q. Would it surprise you to know
| 2 he's a truck driver?

3. A. It's notasurprise. I mean,

4 people have different professions --
35 Q. Now--

6 A. --and careers.

7 Q. Itsays in the next sentence,

8 quote, Certified letters, phone calls and
| 9 texts were sent to invite Ms. to the
10 meeting. Ms. [J contacted

On NM WN

\o

10

dW special education teacher on December 13th, a

_12. 2018 to request a telephone conference.
13 Ms. [RM was called by the special

-14 education teacher and participated by phone

_15 conference. The IEP team was introduced.
16 The special education director reviewed
17 Dr. Ackerson's neuropsychological

‘18 evaluation with the IEP team.

: 19 Recommendations were read per the

20 neuropsychological report including

21 recommendations for a mental health team,
22 significant behavioral concerns, academics,

23 additional services and a healthy lifestyle

(12
13
14

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for JJ Additionally, recommendations
for academics and cognitive remediation
were reviewed from the report including
modifications to J) individualized
education program, individualized
techniques and J understanding of
directions and commands related to his
adaptive skills. What is
understanding of directions and commands
related to his adaptive skills?

A. That would be a teacher that
would be able to tell you what his
understanding of those is.

Q. Do you know as you sit here
today?

A. Idonot.

Q. And it says, Ms. J stated

that [J was previously seen at Laurel
Oaks Behavioral Health Center.
Furthermore, she stated that they did not
make educational recommendations.

Ms. SM reports that ij is currently

seeing a psychiatrist. I'll stop there for

Page 570

a moment. Do you understand [jj has been
seeing a psychiatrist for years, right?

A. I did not -- I did not know.

Q. You did not know that?

A. I didn't even know he was at
Laurel Oaks. Mom did not disclose that
information until that day. So I didn't
know he had been at Laurel Oaks.

Q. So then it says when asked how
often, she indicated she has been seen
one time -- he was being seen one time per
month, a month. The team requested that
they receive any psychiatric reports in
order to coordinate recommendations from

| 15 J current psychiatrist. Now, the

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AT
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next thing, it says the IEP team discussed
the current recommendation of homebound

services for JJ Ms. EM stated that

.19 [RRM is currently out of district during

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the school day staying with family. The
IEP team discussed the need for homebound
services. I'm going to stop there for a
minute. Ms. J has told the district

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